           Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 1 of 29
                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                             June 22, 2022
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                  §
In re:                            §                               Chapter 11
                                  §
TALEN ENERGY SUPPLY, LLC, et al., §                               Case No. 22-90054 (MI)
                                  §
                                  §                               (Jointly Administered)
         Debtors. 1               §
                                  §

             ORDER AUTHORIZING REJECTION OF EXECUTORY CONTRACTS

                    Upon the motion, dated May 10, 2022 (the “Motion”)2 of Talen Energy Supply,

LLC and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in

possession (collectively, the “Debtors”), for authority to reject the Retail Agreements effective

nunc pro tunc to the Petition Date, as more fully set forth in the Motion; and upon consideration

of the Omohundro Declaration; and this Court having jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the

requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that

venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

notice of the Motion having been provided; and such notice having been adequate and appropriate

under the circumstances, and it appearing that no other or further notice need be provided; and this

Court having reviewed the Motion; and this Court having held a hearing to consider the relief

requested in the Motion; and all objections, if any, to the Motion having been withdrawn, resolved,

or overruled; and this Court having determined that the legal and factual bases set forth in the


1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780 Hughes
Landing Boulevard, Suite 800, The Woodlands, Texas 77380.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.




WEIL:\98657658\2\76974.0003
         Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 2 of 29




Motion establish just cause for the relief granted herein; and it appearing that the relief requested

in the Motion is in the best interests of the Debtors and their respective estates and creditors; and

upon all of the proceedings had before this Court and after due deliberation and sufficient cause

appearing therefor,

                    IT IS HEREBY ORDERED THAT:

                    1.        Pursuant to sections 365(a) and 105(a) of the Bankruptcy Code and

Bankruptcy Rule 6006, the Retail Purchase Agreements set forth on Schedule 1 and the Retail

Broker Agreements set forth on Schedule 2 are hereby rejected as of June 17, 2022 (the “Rejection

Date”); provided, that the Rejection Date may be deemed to be an earlier date upon a subsequent

order of the Court after further briefing, which briefing shall be due on July 1, 2022 at 5:00 p.m.

(Prevailing Central Time) or such later date as determined by the Court.

                    2.        Nothing in this Order shall prejudice or diminish the Debtors’ rights to

payment of any amounts owed under the Retail Purchase Agreements prior to the Rejection Date.

                    3.        Nothing in this Order shall prejudice the right of HealthTrust Purchasing

Group, L.P. to assert that any claim it may have against the Debtors is entitled to administrative

expense status under the Bankruptcy Code.

                    4.        Nothing contained in the Motion, or this Order, or any actions taken by the

Debtors pursuant to the relief granted in this Order is intended to be or shall be deemed as (i) a

waiver of any party’s right to assert any claim against the Debtors, (ii) an admission as to the

validity of any claim against the Debtors, (iii) a waiver or limitation of the Debtors’ or any party

in interest’s rights to defend against or dispute the priority, status, validity, or amount of, or basis

for, any claim, (iv) a waiver of the Debtors’ or any other party in interest’s rights under the

Bankruptcy Code or any other applicable nonbankruptcy law, (v) an agreement or obligation to




                                                       2
WEIL:\98657658\2\76974.0003
         Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 3 of 29




pay any claims, (vi) a waiver of any claims or causes of action which may exist against any creditor

or interest holder, (vii) an admission as to the validity of any liens satisfied pursuant to this Motion,

(viii) a waiver or limitation of the Debtors’ right to assert, at a later date, that the Retail Agreements

are not executory contracts, (ix) a concession or evidence that the Retail Agreements have not

expired, been terminated, or are otherwise currently not in full force and effect, or (x) an approval,

assumption or adoption of any agreement, contract, lease, program, or policy under section 365 of

the Bankruptcy Code. Likewise, if the Court grants the relief sought herein, any payment made

pursuant to the Court’s order is not intended to be and should not be construed as an admission to

the validity of any claim or a waiver of the Debtors’ or any other party in interest’s rights to dispute

such claim subsequently.

                    5.         This Order is immediately effective and enforceable upon its entry.

                    6.         The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Order.

                          7.       This Court retains exclusive jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, or enforcement of this Order.


Dated:
Signed:__________,
         June 22, 17,
         October     2022
                  20222018
       Houston, Texas
                                                          ____________________________________
                                                     UNITED STATES BANKRUPTCY
                                                                        Marvin IsgurJUDGE
                                                              United States Bankruptcy Judge




                                                        3
WEIL:\98657658\2\76974.0003
         Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 4 of 29




                                      Schedule 1

                              Retail Purchase Agreements




WEIL:\98657658\2\76974.0003
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 5 of 29


                                                                    Schedule 1
                                                            Retail Purchase Agreement
                    Retail Customer Name                                   Public Utility                 Term Start Date       Term End Date
114 Hill Avenue Operating, LLC                         First Energy Metropolitan Edison Company       November 01, 2020     October 31, 2023
123 South Broad Condominium Association                PECO Energy Company                            June 01, 2020         December 31, 2024
1440 New York Avenue Associates, LP                    Potomac Electric Power Company ‐ DC            February 01, 2020     January 31, 2023
201 West Passaic Venture LLC                           Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
2120 P Street Associates, LLC                          Potomac Electric Power Company ‐ DC            February 01, 2020     January 31, 2025
265 Davidson Ave. LLC                                  Public Service Electric and Gas Co.            January 01, 2021      December 31, 2022
280 Prospect Ave Corp                                  Public Service Electric and Gas Co.            December 01, 2020     October 31, 2024
326 Associates, L.P.                                   Delmarva Power ‐ DE                            December 01, 2019     November 30, 2024
333 Meadowlands Venture, LLC                           Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
395 Rochelle Park, LLC                                 Public Service Electric and Gas Co.            August 01, 2020       June 30, 2023
3‐D Body Works, Inc.                                   PECO Energy Company                            November 01, 2020     October 31, 2025
45 Eisenhower Venture, LLC                             Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
471 AD Associates                                      PPL Electric Utilities                         November 01, 2019     October 31, 2024
500 Manilla Ave. LLC                                   Public Service Electric and Gas Co.            October 01, 2020      September 30, 2023
510 Venture LLC                                        Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
555 Venture LLC                                        Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
6101 Automotive, Inc.                                  PECO Energy Company                            June 01, 2021         May 31, 2024
7973 Food Inc                                          First Energy Cleveland Electric                December 01, 2020     November 30, 2022
A & K Foods, LLC                                       First Energy ‐ Pennsylvania Electric Company   December 01, 2020     November 30, 2023
A.S.P. Services Inc.                                   PPL Electric Utilities                         December 01, 2019     November 30, 2022
Aavid Thermacore, Inc.                                 PPL Electric Utilities                         October 01, 2020      September 30, 2023
Aberdeen Road Company                                  First Energy Metropolitan Edison Company       September 01, 2022    August 31, 2025
AC Products, Inc.                                      PPL Electric Utilities                         December 01, 2020     November 30, 2022
Accudyn Products, Inc.                                 First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
AccuWeather Inc.                                       West Penn Power                                December 01, 2021     November 30, 2025
Acutec Precision Aerospace, Inc.                       First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
Advanced Cast Products, Inc.                           First Energy ‐ Pennsylvania Electric Company   November 01, 2021     October 31, 2024
Advanced Conversion Technology, Inc.                   PPL Electric Utilities                         January 01, 2021      December 31, 2024
Advanced Scientifics, Inc.                             PPL Electric Utilities                         December 01, 2021     November 30, 2024
Agricultural Commodities, Inc                          First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2024
Agventures LLC                                         First Energy Metropolitan Edison Company       December 01, 2019     November 30, 2022
AHS Hospital Corp.                                     Jersey Central Power & Light                   June 01, 2020         November 30, 2025
Akron Rubber Development Laboratory, Incorporated      First Energy Ohio Edison                       November 01, 2021     October 31, 2025
Alexandria Manor Inc.                                  PPL Electric Utilities                         December 01, 2020     November 30, 2023
Alexandria Manor Inc.                                  First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2023
Alfieri LLC                                            Public Service Electric and Gas Co.            August 01, 2020       July 31, 2023
ALL Holding Company, LLC                               PPL Electric Utilities                         December 01, 2019     November 30, 2022
ALL Holding Company, LLC                               PECO Energy Company                            December 01, 2019     November 30, 2022
ALL Holding Company, LLC                               First Energy Metropolitan Edison Company       December 01, 2019     November 30, 2022
Allegheny Wood Products, Inc.                          First Energy ‐ Pennsylvania Electric Company   September 01, 2020    August 31, 2023
Allen Organ Company                                    PPL Electric Utilities                         January 01, 2021      November 30, 2022
Allentown Arena Condominium Unit Owners Association,
Inc.                                                   PPL Electric Utilities                         February 01, 2019     January 31, 2024
Allentown Housing Authority                            PPL Electric Utilities                         December 01, 2020     November 30, 2025
Almatis, Inc.                                          Duquesne                                       June 01, 2020         May 31, 2022
Alpha Assembly Solutions Inc.                          First Energy ‐ Pennsylvania Electric Company   January 01, 2024      December 31, 2025
Altec Industries, Inc.                                 PPL Electric Utilities                         July 01, 2020         June 30, 2023
American Asphalt Company, Inc.                         Public Service Electric and Gas Co.            December 01, 2019     November 30, 2024
American Blacktop Company, Inc.                        Public Service Electric and Gas Co.            December 01, 2019     November 30, 2024
American Customer Care, Inc.                           PPL Electric Utilities                         January 01, 2020      December 31, 2023
American Gastroenterological Association, Inc.         Potomac Electric Power Company ‐ MD            March 01, 2020        February 28, 2023
American Hardwood Industries, LLC                      First Energy ‐ Pennsylvania Electric Company   April 01, 2021        December 31, 2023
American Plaza Doughnuts                               First Energy Metropolitan Edison Company       September 01, 2020    August 31, 2023
American Plaza Doughnuts                               PPL Electric Utilities                         September 01, 2020    August 31, 2023
American Red Cross                                     Ohio Power                                     June 01, 2019         May 31, 2022
American Red Cross                                     Columbus Southern Power Company                June 01, 2019         May 31, 2022
American Zinc Recycling Corp.                          PPL Electric Utilities                         July 01, 2021         December 31, 2023
Ames Advanced Materials Corporation                    Public Service Electric and Gas Co.            December 01, 2021     November 30, 2024
Amick Farms, LLC                                       Delmarva Power ‐ DE                            October 01, 2020      September 30, 2024
Amick Farms, LLC                                       Delmarva Power ‐ MD                            October 01, 2020      September 30, 2024
AMZ Manufacturing Corporation                          First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2022
Anthropologie, Inc.                                    PECO Energy Company                            January 01, 2021      December 31, 2022
Anthropologie, Inc.                                    Duquesne                                       January 01, 2021      December 31, 2022
Antonio Origlio, Inc.                                  PECO Energy Company                            January 01, 2021      December 31, 2023



                                                                                                                                       Page 1 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 6 of 29


                                                               Schedule 1
                                                       Retail Purchase Agreement
                    Retail Customer Name                              Public Utility                 Term Start Date       Term End Date
Antonio Origlio, Inc.                             First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
Antwerpen Auto                                    Baltimore Gas & Electric                       May 01, 2020          April 30, 2024
Antwerpen Auto                                    Delmarva Power ‐ DE                            May 01, 2020          April 30, 2024
Antwerpen Auto                                    Delmarva Power ‐ MD                            May 01, 2020          April 30, 2024
Antwerpen Auto                                    Baltimore Gas & Electric                       June 01, 2020         April 30, 2024
Antwerpen Auto                                    Baltimore Gas & Electric                       December 01, 2020     April 30, 2024
AP Thermoforming LLC                              PPL Electric Utilities                         August 01, 2020       July 31, 2024
Appalachian Wood Products, Inc.                   First Energy ‐ Pennsylvania Electric Company   June 01, 2018         May 31, 2022
Applied Property Management Co., Inc.             Public Service Electric and Gas Co.            October 01, 2020      September 30, 2022
Arbco Industries, LLC                             West Penn Power                                February 01, 2021     January 31, 2024
Arbor Management, LLC                             Delmarva Power ‐ MD                            December 01, 2020     November 30, 2024
Arbor Management, LLC                             Delmarva Power ‐ DE                            December 01, 2020     November 30, 2024
Architectural Polymers, Inc.                      PPL Electric Utilities                         August 01, 2020       July 31, 2024
Armstrong World Industries, Inc.                  PPL Electric Utilities                         December 01, 2021     November 30, 2022
Arrowhead Industries Corporation                  First Energy Cleveland Electric                August 01, 2021       July 31, 2024
Artex Knitting Mills Inc.                         Public Service Electric and Gas Co.            August 01, 2020       July 31, 2025
Arthur M. and Frances P. Blaine Apartments, LLC   Public Service Electric and Gas Co.            October 01, 2020      September 30, 2023
Arundel Federal Savings Bank                      Baltimore Gas & Electric                       December 01, 2020     November 30, 2023
Ascensus Specialties Callery, LLC                 Pennsylvania Power & Light                     December 01, 2020     November 30, 2025
Ashers Chocolates Lewistown Inc.                  First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
Ashland Foundry and Machine Works, Inc.           PPL Electric Utilities                         December 01, 2020     November 30, 2022
Ashley Machine & Tool Co.                         UGI Utilities, Inc.                            June 01, 2019         September 30, 2022
ASM Industries, Inc.                              PPL Electric Utilities                         January 01, 2022      December 31, 2025
Aspen Woodbridge, LLC                             Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
Associated Materials, LLC                         Public Service Electric and Gas Co.            January 01, 2021      December 31, 2022
At Home Stores LLC                                PPL Electric Utilities                         March 01, 2020        February 28, 2023
Atlantic Automotive Corp.                         PPL Electric Utilities                         July 01, 2020         September 30, 2022
Atlas Pressed Metals                              First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2023
Audubon Mutual Housing Corp                       Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
Automatic Bowling Centre, Inc.                    PPL Electric Utilities                         May 01, 2021          April 30, 2022
AutoZone Parts, Inc.                              Public Service Electric and Gas Co.            July 01, 2021         December 31, 2022
AutoZone Parts, Inc.                              Jersey Central Power & Light                   July 01, 2021         December 31, 2022
AutoZone Parts, Inc.                              Atlantic City Electric Company                 July 01, 2021         December 31, 2022
Azek Building Products, LLC                       PPL Electric Utilities                         January 01, 2021      December 31, 2022
B & G Plastics, Inc.                              Public Service Electric and Gas Co.            April 01, 2019        July 31, 2022
B & G Plastics, Inc.                              Public Service Electric and Gas Co.            August 01, 2019       July 31, 2022
B&G Foods, Inc.                                   Delmarva Power ‐ MD                            October 01, 2019      September 30, 2022
Baker Young                                       First Energy ‐ Pennsylvania Electric Company   November 01, 2020     October 31, 2024
Bakery De France                                  Potomac Edison                                 January 01, 2020      December 31, 2023
Bakery De France                                  Potomac Electric Power Company ‐ MD            December 01, 2020     November 30, 2024
Balmoral Investments LLC                          Baltimore Gas & Electric                       January 01, 2020      December 31, 2024
Balmoral Investments LLC                          Baltimore Gas & Electric                       January 01, 2025      August 31, 2029
Baltimore Country Club                            Baltimore Gas & Electric                       November 01, 2020     October 31, 2024
Baltimore Museum of Industry Inc                  Baltimore Gas & Electric                       March 01, 2021        February 29, 2024
Bancroft Neurohealth                              Atlantic City Electric Company                 February 01, 2020     January 31, 2024
Bancroft Neurohealth                              Delmarva Power ‐ DE                            February 01, 2020     January 31, 2024
Bancroft Neurohealth                              Atlantic City Electric Company                 October 01, 2020      January 31, 2024
Bancroft Neurohealth                              Atlantic City Electric Company                 November 01, 2020     January 31, 2024
Bank of New York Mellon Corporation               Duquesne                                       December 01, 2020     November 30, 2024
Banneton Bakery Inc.                              Atlantic City Electric Company                 January 01, 2022      December 31, 2025
Barletta Materials & Construction, Inc.           PPL Electric Utilities                         January 01, 2020      December 31, 2022
Barnes & Noble, Inc.                              Public Service Electric and Gas Co.            January 01, 2020      December 31, 2022
Barnes & Noble, Inc.                              Jersey Central Power & Light                   January 01, 2020      December 31, 2022
Barnes & Noble, Inc.                              Jersey Central Power & Light                   January 01, 2021      December 31, 2022
Barnes & Noble, Inc.                              Public Service Electric and Gas Co.            January 01, 2021      December 31, 2022
Barton & Cooney, L.L.C.                           Public Service Electric and Gas Co.            November 01, 2020     October 31, 2022
Bayer Healthcare LLC                              Duquesne                                       November 01, 2020     November 30, 2022
Bayonne School District                           Public Service Electric and Gas Co.            October 01, 2020      September 30, 2022
Baywoods Cooperative Housing Corporation          Baltimore Gas & Electric                       May 01, 2019          November 30, 2022
Beacon Roofing Supply, Inc                        Potomac Electric Power Company ‐ MD            September 01, 2019    August 31, 2022
Beacon Roofing Supply, Inc                        Potomac Edison                                 September 01, 2019    August 31, 2022
Beacon Roofing Supply, Inc                        Delmarva Power ‐ MD                            September 01, 2019    August 31, 2022
Beacon Roofing Supply, Inc                        Baltimore Gas & Electric                       September 01, 2019    August 31, 2022
Beacon Sales Acquisition, Inc.                    Public Service Electric and Gas Co.            November 01, 2021     October 31, 2024



                                                                                                                                  Page 2 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 7 of 29


                                                                   Schedule 1
                                                           Retail Purchase Agreement
                    Retail Customer Name                                  Public Utility                 Term Start Date       Term End Date
Beacon Sales Acquisition, Inc.                        Jersey Central Power & Light                   November 01, 2021     October 31, 2024
Beacon Sales Acquisition, Inc.                        Atlantic City Electric Company                 November 01, 2021     October 31, 2024
Bentley Truck Services, Inc.                          UGI Utilities, Inc.                            September 01, 2020    August 31, 2024
Berliner Specialty Distributors, Inc.                 Potomac Electric Power Company ‐ MD            December 01, 2021     November 30, 2025
Berwick Area Joint Sewer Authority                    PPL Electric Utilities                         December 01, 2021     November 30, 2025
Best Suites Hospitality LLC                           PPL Electric Utilities                         January 01, 2023      December 31, 2025
Bet Investments, Inc.                                 PPL Electric Utilities                         January 01, 2021      December 31, 2023
Bet Investments, Inc. (PECO)40 acct                   PECO Energy Company                            January 01, 2021      December 31, 2023
Bet Investments, Inc. (Shopping Centers) (PECO)       PECO Energy Company                            January 01, 2021      December 31, 2023
Bet Investments, Inc. (Shopping Centers) (PPL)        PECO Energy Company                            January 01, 2021      December 31, 2023
Bethesda Hotel Associates LLC                         Potomac Electric Power Company ‐ MD            February 01, 2020     January 31, 2025
Betts Industries, Inc.                                First Energy ‐ Pennsylvania Electric Company   June 01, 2022         November 30, 2024
Big Heart Pet Brands                                  PPL Electric Utilities                         January 01, 2022      December 31, 2023
Bigbee Steel & Tank Co.                               PPL Electric Utilities                         May 01, 2020          April 30, 2022
Bigbee Steel & Tank Co.                               PPL Electric Utilities                         May 01, 2022          April 30, 2024
Bilo Gas N Go                                         Pennsylvania Power & Light                     December 01, 2021     November 30, 2024
Bimbo Bakeries USA, Inc.                              Potomac Edison                                 January 01, 2020      December 31, 2022
Bindagraphics, Inc.                                   Baltimore Gas & Electric                       January 01, 2021      December 31, 2024
Blaise Alexander Management Inc                       First Energy ‐ Pennsylvania Electric Company   September 01, 2023    December 31, 2025
Blaise Alexander Management Inc                       West Penn Power                                September 01, 2023    December 31, 2025
Blaise Alexander Management Inc (PEN)                 PPL Electric Utilities                         September 01, 2023    December 31, 2025
Blaise Alexander Management Inc (PPL)                 PPL Electric Utilities                         September 01, 2023    December 31, 2025
Blaise Alexander Management Inc (WPP)                 PPL Electric Utilities                         September 01, 2023    December 31, 2025
Bliley Technologies Incorporated                      First Energy ‐ Pennsylvania Electric Company   May 01, 2021          April 30, 2024
Bloomsburg Carpet Industries, Inc.                    PPL Electric Utilities                         February 01, 2021     December 31, 2022
Blossom Row Owner LLC                                 PECO Energy Company                            January 01, 2020      December 31, 2022
Blue Ridge Real Estate Company                        PPL Electric Utilities                         January 01, 2020      December 31, 2023
Blue Water Development Corporation dba Bethany Land
Co., Inc.                                             Delmarva Power ‐ DE                            January 01, 2021      December 31, 2025
Blue Water Development Corporation dba Bethany Land
Co., Inc.                                             Delmarva Power ‐ DE                            December 01, 2021     December 31, 2025
Bonham Nursing Center                                 UGI Utilities, Inc.                            March 01, 2021        February 29, 2024
Borne Holding Co., Inc.                               Public Service Electric and Gas Co.            November 01, 2020     April 30, 2023
Borough of Bloomfield                                 PPL Electric Utilities                         December 01, 2019     November 30, 2024
Borough of Indiana                                    First Energy ‐ Pennsylvania Electric Company   September 01, 2019    December 31, 2022
Borough of Quarryville                                PPL Electric Utilities                         January 01, 2022      December 31, 2025
Borough of Steelton                                   PPL Electric Utilities                         July 01, 2019         June 30, 2024
Borough of Tyrone                                     First Energy ‐ Pennsylvania Electric Company   December 01, 2020     November 30, 2024
Boyer's Food Markets, Inc.                            First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2024
Boyer's Food Markets, Inc.                            PPL Electric Utilities                         December 01, 2021     November 30, 2024
Boys' & Girls' Clubs of Newark Life Camp, Inc.        Public Service Electric and Gas Co.            August 01, 2020       July 31, 2023
Bradford Ecumenical Home, Inc                         First Energy ‐ Pennsylvania Electric Company   June 01, 2020         May 31, 2022
Bradford Forest, Inc.                                 First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2023
Brandywine Cira Post Office LP                        PECO Energy Company                            January 01, 2019      December 31, 2022
Brandywine Operating Partnership, L.P.                PECO Energy Company                            December 01, 2020     December 31, 2022
Brandywine Operating Partnership, L.P.                PECO Energy Company                            January 01, 2021      December 31, 2022
Brentwood Industries, Inc.                            First Energy Metropolitan Edison Company       May 01, 2021          December 31, 2022
Bridge Valley Farm, LLC                               PPL Electric Utilities                         May 01, 2021          April 30, 2023
Bridgewater Crossing DE LLC                           Public Service Electric and Gas Co.            December 01, 2021     November 30, 2022
Brilex Industries Inc                                 First Energy Ohio Edison                       December 01, 2022     November 30, 2025
Brodhead Creek Regional Authority                     First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2024
Brook Farms Development LLC                           PPL Electric Utilities                         January 01, 2020      December 31, 2023
Brookside Country Club of Allentown, PA               PPL Electric Utilities                         January 01, 2021      December 31, 2022
Brother and Sister Food Service, Inc.                 PPL Electric Utilities                         December 01, 2019     November 30, 2022
Bruce‐Wish Management, LP                             Pennsylvania Power & Light                     July 01, 2021         June 30, 2024
Buckingham's Choice, Inc.                             Potomac Edison                                 December 01, 2020     November 30, 2024
Burnham Holdings, Inc.                                PPL Electric Utilities                         May 01, 2020          April 30, 2022
Burnham Holdings, Inc.                                PPL Electric Utilities                         May 01, 2022          April 30, 2023
Burnham LLC                                           PPL Electric Utilities                         May 01, 2020          April 30, 2022
Burnham LLC                                           PPL Electric Utilities                         May 01, 2022          April 30, 2023
BWAY Corporation                                      Public Service Electric and Gas Co.            December 01, 2018     November 30, 2022
Byram Healthcare Centers, Inc.                        Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
C.F. Martin & Co., Inc.                               First Energy Metropolitan Edison Company       October 01, 2021      November 30, 2024
Cambria Company LLC                                   First Energy Ohio Edison                       December 01, 2019     November 30, 2022



                                                                                                                                      Page 3 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 8 of 29


                                                                      Schedule 1
                                                              Retail Purchase Agreement
                    Retail Customer Name                                     Public Utility                 Term Start Date       Term End Date
Camelot A Condominium                                    Public Service Electric and Gas Co.            October 01, 2020      September 30, 2024
Capano Management Company                                Delmarva Power ‐ DE                            March 01, 2021        December 31, 2023
Carbon County                                            PPL Electric Utilities                         April 01, 2020        March 31, 2024
Caring People Alliance                                   PECO Energy Company                            January 01, 2020      November 30, 2023
Carlisle Production Inc                                  PPL Electric Utilities                         September 01, 2020    November 30, 2022
Carnegie Institute                                       Duquesne                                       January 01, 2022      December 31, 2024
Carpenter Company                                        PPL Electric Utilities                         January 01, 2021      December 31, 2023
Carpenter Company                                        First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Casio America, Inc.                                      Jersey Central Power & Light                   December 01, 2020     May 31, 2022
Catelli Bros., Inc.                                      Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
Cathedral Commons Partners, LLC                          Potomac Electric Power Company ‐ DC            June 01, 2021         May 31, 2023
Cathedral Village                                        PECO Energy Company                            October 01, 2019      December 31, 2024
CBL and Associates Management Inc.                       Duquesne                                       December 01, 2020     November 30, 2023
CBL and Associates Management Inc.                       First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
CBL and Associates Management Inc.                       West Penn Power                                January 01, 2021      December 31, 2023
CBL and Associates Management Inc.                       Duke Energy                                    January 01, 2021      December 31, 2023
CCL Label, Inc.                                          First Energy Cleveland Electric                June 01, 2022         November 30, 2025
CCL Tube, Inc                                            UGI Utilities, Inc.                            August 01, 2019       November 30, 2022
CEC 100, LLC                                             Delmarva Power ‐ DE                            January 01, 2021      December 31, 2024
CEC200, LLC                                              Delmarva Power ‐ DE                            January 01, 2021      December 31, 2024
Central Columbia School District                         PPL Electric Utilities                         December 01, 2019     November 30, 2022
Centre Property Management LLC                           Baltimore Gas & Electric                       November 01, 2019     October 31, 2024
Centre Property Management LLC                           Baltimore Gas & Electric                       December 01, 2020     October 31, 2024
Chaucer Press, Inc.                                      UGI Utilities, Inc.                            April 01, 2021        March 31, 2024
Chester A. Asher, Inc.                                   PPL Electric Utilities                         January 01, 2022      November 30, 2024
Chester Loft, LLC                                        PECO Energy Company                            January 01, 2019      December 31, 2022
Chestnut Hill Hospital LLC                               PECO Energy Company                            May 01, 2020          December 31, 2023
Chestnut Hill Owner LLC                                  PECO Energy Company                            January 01, 2020      December 31, 2022
Chevy Chase Club, Inc.                                   Potomac Electric Power Company ‐ MD            December 01, 2021     November 30, 2024
Church & Dwight Co., Inc.                                First Energy Metropolitan Edison Company       February 01, 2021     January 31, 2023
Citterio USA Corporation                                 PPL Electric Utilities                         July 01, 2020         June 30, 2023
City of Reading                                          First Energy Metropolitan Edison Company       March 01, 2020        December 31, 2022
City of Rehoboth Beach                                   Delmarva Power ‐ DE                            June 01, 2019         May 31, 2022
Clark Associates, Inc.                                   Potomac Edison                                 May 01, 2020          April 30, 2023
Clarkwestern Dietrich Building Systems LLC               Baltimore Gas & Electric                       June 01, 2021         May 31, 2024
Cleveland Assets, LLC                                    First Energy Cleveland Electric                November 01, 2021     December 31, 2024
Clinton County Solid Waste Authority                     PPL Electric Utilities                         January 01, 2021      December 31, 2023
Clover Farms Dairy Company Inc                           First Energy Metropolitan Edison Company       May 01, 2021          April 30, 2023
CMBK Resort Holdings, LLC                                PPL Electric Utilities                         December 01, 2019     November 30, 2023
Colonial Estates                                         Ohio Power                                     June 01, 2022         November 30, 2024
Columbia Montour Voc Tech Sch                            PPL Electric Utilities                         August 01, 2019       July 31, 2023
Commodore Perry School District                          Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Commonwealth of PA DGS                                   PPL Electric Utilities                         January 01, 2021      December 31, 2022
Commonwealth of PA DGS                                   First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2024
Commonwealth of PA DGS                                   UGI Utilities, Inc.                            January 01, 2022      December 31, 2022
Commonwealth of PA DGS                                   First Energy Metropolitan Edison Company       January 01, 2022      December 31, 2022
Commonwealth of PA DGS (Penelec Aggregate)               First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2022
Commonwealth of PA DGS (Penelec Large Commercial
Account)                                                 First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2022
Commonwealth of PA DGS (PPL Aggregate)                   PPL Electric Utilities                         January 01, 2022      December 31, 2022
Commonwealth of PA DGS (PPL Large Commercial
Accounts)                                                PPL Electric Utilities                         January 01, 2022      December 31, 2022
Community Haven Senior Citizen Housing Ltd               Atlantic City Electric Company                 November 01, 2020     October 31, 2023
Compass Natural Gas Partners LP                          PPL Electric Utilities                         December 01, 2021     November 30, 2024
Composiflex, Inc.                                        First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Comprehensive Healthcare Management Services, LLC        Duquesne                                       May 01, 2020          December 31, 2023
Conestoga Wood Specialties Corporation                   PPL Electric Utilities                         December 01, 2021     November 30, 2024
Congoleum Corporation                                    Baltimore Gas & Electric                       October 01, 2019      December 31, 2024
Congoleum Corporation                                    PECO Energy Company                            March 01, 2020        December 31, 2025
Congoleum Corporation                                    Public Service Electric and Gas Co.            January 01, 2021      December 31, 2025
Congregation of the Sisters Servants of the Immaculate
Heart of Mary, Scranton, PA                              PPL Electric Utilities                         April 01, 2021        March 31, 2024
Consol Energy, Inc                                       West Penn Power                                June 01, 2020         May 31, 2022
Consol Energy, Inc                                       Baltimore Gas & Electric                       June 01, 2020         May 31, 2022



                                                                                                                                         Page 4 of 17
                 Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 9 of 29


                                                                           Schedule 1
                                                                   Retail Purchase Agreement
                    Retail Customer Name                                          Public Utility                 Term Start Date       Term End Date
Cook Myosite Incorporated                                     Duquesne                                       October 01, 2020      September 30, 2023
Corporation Service Company Inc                               Delmarva Power ‐ DE                            December 01, 2020     November 30, 2022
Council of The Devon                                          Delmarva Power ‐ DE                            December 01, 2020     November 30, 2024
Country Fresh Batter, Inc.                                    PECO Energy Company                            October 01, 2019      September 30, 2023
Country Inns & Suites by Carlson, Carlisle, PA                PPL Electric Utilities                         February 01, 2021     January 31, 2024
County of Dauphin                                             PPL Electric Utilities                         January 01, 2021      December 31, 2023
County of Lancaster                                           PPL Electric Utilities                         January 01, 2021      December 31, 2023
County of Lancaster                                           First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
County of Lehigh                                              PPL Electric Utilities                         January 01, 2021      December 31, 2023
Cousine Solutions, Inc. dba Egg Gourmet Solutions             PPL Electric Utilities                         December 01, 2019     November 30, 2022
Covelli Enterprises, Inc.                                     First Energy Cleveland Electric                June 01, 2021         May 31, 2024
Covelli Enterprises, Inc.                                     First Energy Ohio Edison                       June 01, 2021         May 31, 2024
Covenant Life Church Inc                                      Potomac Electric Power Company ‐ MD            September 01, 2022    December 31, 2024
Crayola, LLC                                                  PPL Electric Utilities                         November 01, 2020     October 31, 2023
Crayola, LLC                                                  First Energy Metropolitan Edison Company       November 01, 2020     October 31, 2023
CREI‐Salisbury, LLC                                           Delmarva Power ‐ MD                            November 01, 2019     October 31, 2023
Crescent Park Corporation                                     PPL Electric Utilities                         December 01, 2021     November 30, 2022
Crown Castle Fiber LLC                                        PPL Electric Utilities                         December 01, 2019     November 30, 2023
Crown Castle Fiber LLC                                        Public Service Electric and Gas Co.            December 01, 2019     November 30, 2023
Crown Castle Fiber LLC                                        Delmarva Power ‐ DE                            December 01, 2019     November 30, 2023
Crown Two Penn Center Associates                              PECO Energy Company                            September 01, 2019    August 31, 2022
CSL Behring, LLC                                              PECO Energy Company                            March 01, 2019        December 31, 2022
CSS Industries, Inc                                           PPL Electric Utilities                         December 01, 2019     November 30, 2022
Cumberland Freezers                                           Atlantic City Electric Company                 June 01, 2022         November 30, 2024
D.F. Stauffer Biscuit Company Inc.                            First Energy Metropolitan Edison Company       January 01, 2022      December 31, 2022
D.F. Stauffer Biscuit Company Inc.                            First Energy Metropolitan Edison Company       January 01, 2023      December 31, 2023
Dairy Farmers of America, Inc.                                First Energy Metropolitan Edison Company       January 01, 2020      December 31, 2022
Dairy Maid Dairy, LLC                                         Potomac Edison                                 November 01, 2022     December 31, 2024
Dairy Maid Dairy, LLC                                         Potomac Edison                                 December 01, 2022     December 31, 2024
Dairy Maid Dairy, LLC                                         Potomac Edison                                 January 01, 2025      August 31, 2029
Daniels Cadillac, Inc.                                        PPL Electric Utilities                         February 01, 2021     January 31, 2025
Danville Area Community Center Inc                            PPL Electric Utilities                         May 01, 2019          April 30, 2022
Dassault Falcon Jet Corp.                                     Public Service Electric and Gas Co.            October 01, 2020      September 30, 2023
Dassault Falcon Jet Corp.                                     Public Service Electric and Gas Co.            January 01, 2021      December 31, 2022
Datacolor, Inc.                                               Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
David Weber Co., Inc.                                         PECO Energy Company                            January 01, 2021      December 31, 2022
Dayton Parts, LLC                                             PPL Electric Utilities                         December 01, 2019     November 30, 2023
Deka USA Property Four LP                                     Potomac Electric Power Company ‐ DC            June 01, 2019         May 31, 2022
Delaware Museum of Natural History, Inc.                      Delmarva Power ‐ DE                            January 01, 2021      December 31, 2022
DePaul Group, Inc.                                            PECO Energy Company                            September 01, 2020    August 31, 2023
Derry Township School District                                PPL Electric Utilities                         December 01, 2019     November 30, 2022
Desaki Japanese Restaurant                                    PPL Electric Utilities                         July 01, 2020         June 30, 2023
Deterding's Market Incorporated                               Atlantic City Electric Company                 August 01, 2019       September 30, 2022
DFA Dairy Brands Corporate, LLC                               PPL Electric Utilities                         August 01, 2020       July 31, 2022
Dick's Sporting Goods, Inc.                                   PPL Electric Utilities                         January 01, 2020      December 31, 2023
Dick's Sporting Goods, Inc.                                   First Energy Ohio Edison                       August 01, 2020       July 31, 2023
Dick's Sporting Goods, Inc.                                   First Energy Ohio Edison                       December 01, 2020     November 30, 2022
Dick's Sporting Goods, Inc.                                   First Energy Ohio Edison                       December 01, 2020     July 31, 2023
Dick's Sporting Goods, Inc.                                   Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Dick's Sporting Goods, Inc. (Add Accts ‐ New Deal) (PPL)      PPL Electric Utilities                         January 01, 2021      December 31, 2023
Dick's Sporting Goods, Inc. (PPL) (1 accts add)(Renewal)      PPL Electric Utilities                         January 01, 2021      December 31, 2023
Dick's Sporting Goods, Inc. (PPL) (5 accts) (1/2) (Renewal)   PPL Electric Utilities                         January 01, 2021      December 31, 2023
Dimensional Merchandising, Inc.                               Jersey Central Power & Light                   September 01, 2020    August 31, 2024
District Photo, Inc.                                          Potomac Electric Power Company ‐ MD            December 01, 2020     December 31, 2024
DNV GL USA, Inc.                                              Columbus Southern Power Company                October 01, 2020      March 31, 2025
D‐O‐D Manufacturing, Inc.                                     Delmarva Power ‐ DE                            March 01, 2020        May 31, 2022
Dor‐Mae Industries, Inc.                                      First Energy Metropolitan Edison Company       January 01, 2022      December 31, 2024
Double H Plastics, Inc.                                       PECO Energy Company                            December 01, 2023     November 30, 2025
Dover Township                                                First Energy Metropolitan Edison Company       December 01, 2022     November 30, 2025
DSM Biomedical Inc                                            PECO Energy Company                            January 01, 2021      November 30, 2023
Dubois Mall                                                   First Energy ‐ Pennsylvania Electric Company   September 01, 2020    August 31, 2022
Duhadaway Tool and Die Shop, Inc.                             Delmarva Power ‐ DE                            June 01, 2020         May 31, 2022
Dukes Bar and Grille                                          PPL Electric Utilities                         December 01, 2021     November 30, 2023
Dulaney Towers High Rise                                      Baltimore Gas & Electric                       December 01, 2022     November 30, 2024



                                                                                                                                              Page 5 of 17
              Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 10 of 29


                                                                     Schedule 1
                                                             Retail Purchase Agreement
                    Retail Customer Name                                    Public Utility                 Term Start Date      Term End Date
Durawood Products, Inc.                                 PPL Electric Utilities                         December 01, 2019     November 30, 2022
Dutchland Refrigerated Transport Inc                    PPL Electric Utilities                         December 01, 2022     November 30, 2025
Dyer Quarry Inc                                         First Energy Metropolitan Edison Company       January 01, 2020      December 31, 2024
E & D Market Inc                                        PECO Energy Company                            October 01, 2020      November 30, 2022
E I Realty Inc                                          PPL Electric Utilities                         December 01, 2020     November 30, 2023
Earth Pride Organics, LLC                               PPL Electric Utilities                         April 01, 2022        March 31, 2025
East Pennsboro Township                                 PPL Electric Utilities                         December 01, 2022     November 30, 2025
Eastern Driller Manufacturing Co., Inc.                 PPL Electric Utilities                         November 01, 2022     October 31, 2025
Eastern Sintered Alloys, Inc.                           West Penn Power                                December 01, 2020     November 30, 2022
Eastern Sintered Alloys, Inc.                           West Penn Power                                December 01, 2022     November 30, 2024
Easypak, LLC                                            First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2022
Edgewater Towers Condominium Unit Owners Association,
Inc.                                                    First Energy Cleveland Electric                September 01, 2021    August 31, 2024
Edinboro University Of Pennsylvania                     First Energy ‐ Pennsylvania Electric Company   January 01, 2020      December 31, 2023
Eighth Avenue Operating, LLC                            First Energy Metropolitan Edison Company       November 01, 2020     October 31, 2023
Elizabethtown Area School District                      First Energy Metropolitan Edison Company       July 01, 2021         June 30, 2022
Elizabethtown Area School District                      PPL Electric Utilities                         July 01, 2021         June 30, 2022
Elizabethtown Area School District                      PPL Electric Utilities                         July 01, 2022         June 30, 2024
Elizabethtown Area School District                      First Energy Metropolitan Edison Company       July 01, 2022         June 30, 2024
Elizabethtown College                                   PPL Electric Utilities                         June 01, 2021         May 31, 2023
Emporium Hardwoods Operating Company, LLC               West Penn Power                                May 01, 2021          October 31, 2022
Entertrainment Junction                                 Duke Energy                                    January 01, 2021      December 31, 2024
Enzyme Development Corporation                          PPL Electric Utilities                         February 01, 2023     January 31, 2024
Ephrata Borough Authority                               PPL Electric Utilities                         October 01, 2021      September 30, 2024
Erickson Living Management, LLC                         PECO Energy Company                            January 01, 2020      December 31, 2023
Erie Plating Company                                    First Energy ‐ Pennsylvania Electric Company   December 01, 2022     November 30, 2024
Eriez Manufacturing Co.                                 First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Esbenshade Inc.                                         PPL Electric Utilities                         January 01, 2022      December 31, 2025
Eureka Stone Quarry, Inc.                               PPL Electric Utilities                         January 01, 2021      December 31, 2023
Eureka Stone Quarry, Inc.                               First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
Euro Usa, Inc.                                          First Energy Cleveland Electric                September 01, 2021    August 31, 2024
Eurofins Lancaster Laboratories, Inc                    PPL Electric Utilities                         January 01, 2021      December 31, 2023
Everett Foodliner Inc                                   First Energy ‐ Pennsylvania Electric Company   November 01, 2020     May 31, 2022
Everett Foodliner Inc                                   First Energy ‐ Pennsylvania Electric Company   June 01, 2022         May 31, 2025
Evergreen Cooperative Laundry Inc                       First Energy Cleveland Electric                June 01, 2020         May 31, 2023
Executive House Condominium Association‐                Public Service Electric and Gas Co.            December 01, 2020     November 30, 2024
Executool                                               First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2024
Extreme Machine and Fabricating, Inc.                   Pennsylvania Power & Light                     November 01, 2022     October 31, 2024
Faihopity Farms                                         PPL Electric Utilities                         April 01, 2022        March 31, 2025
Fair Oaks OpCo LLC                                      Duquesne                                       March 01, 2020        February 28, 2023
Fairfield Inn & Suites Allentown West                   PPL Electric Utilities                         April 01, 2020        March 31, 2024
Fairhaven, Inc.                                         Baltimore Gas & Electric                       December 01, 2020     November 30, 2024
Farmers and Distillers                                  Potomac Electric Power Company ‐ DC            October 01, 2021      September 30, 2024
Farrell Area School District                            Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Farrell Golden Dawn Inc                                 Pennsylvania Power & Light                     December 01, 2021     November 30, 2024
Fbk Medical Tubing, Inc.                                Delmarva Power ‐ DE                            February 01, 2021     January 31, 2024
Federal Center Hotel Associates                         Potomac Electric Power Company ‐ DC            February 01, 2020     January 31, 2025
Feesers, Inc.                                           PPL Electric Utilities                         January 01, 2021      December 31, 2024
Fenner, Inc.                                            PPL Electric Utilities                         November 01, 2022     October 31, 2023
Festival Fun Parks, LLC dba Kennywood                   Duquesne                                       October 01, 2020      September 30, 2023
Festival Fun Parks, LLC dba Kennywood                   Duquesne                                       November 01, 2020     September 30, 2023
Festival Fun Parks, LLC dba Kennywood                   West Penn Power                                October 01, 2021      September 30, 2023
Fiber‐Line, LLC                                         PPL Electric Utilities                         October 01, 2020      September 30, 2024
First Industrial Realty Trust, Inc. (Acct. #2028)       PPL Electric Utilities                         December 01, 2020     November 30, 2022
First Industrial Realty Trust, Inc. (Group 2)           PPL Electric Utilities                         December 01, 2020     November 30, 2022
First United Bank & Trust                               Potomac Edison                                 August 01, 2020       July 31, 2024
Flinchbaugh Engineering, Inc.                           First Energy Metropolitan Edison Company       December 01, 2019     November 30, 2024
Fluortek Inc.                                           First Energy Metropolitan Edison Company       November 01, 2020     October 31, 2023
Flynn Auto Group                                        Ohio Power                                     July 01, 2020         December 31, 2024
Flynn Auto Group                                        First Energy Ohio Edison                       October 31, 2020      December 30, 2024
FR Conversions Inc                                      Baltimore Gas & Electric                       December 01, 2021     November 30, 2024
Frank B Fuhrer Holdings Inc                             Duquesne                                       January 01, 2021      December 31, 2023
Franklin Foods, Inc                                     West Penn Power                                November 01, 2022     December 31, 2025
Franklin Square LP DBA Kuhn?s Market                    Duquesne                                       October 01, 2020      April 30, 2023



                                                                                                                                        Page 6 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 11 of 29


                                                                   Schedule 1
                                                           Retail Purchase Agreement
                    Retail Customer Name                                  Public Utility                 Term Start Date       Term End Date
Franklin Square LP DBA Kuhn?s Market                  Pennsylvania Power & Light                     October 01, 2020      April 30, 2023
Free People of PA LLC                                 PECO Energy Company                            January 01, 2021      December 31, 2022
Free People of PA LLC                                 Duquesne                                       January 01, 2021      December 31, 2022
Friendship Public Charter School, Inc.                Potomac Electric Power Company ‐ DC            December 01, 2020     November 30, 2022
Frontenac Condominium Association I                   Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
Frydrych, David L and Audrey G Inc                    Pennsylvania Power & Light                     December 01, 2021     November 30, 2024
Fst Logistics, Inc.                                   Columbus Southern Power Company                November 01, 2020     November 30, 2023
Fujirebio Diagnostics, Inc.                           PECO Energy Company                            February 01, 2020     December 31, 2024
Fukuvi USA, Inc.                                      Dayton Power & Light                           November 01, 2023     October 31, 2025
Fyda Freightliner Inc.                                West Penn Power                                December 01, 2019     November 30, 2022
G & S Motor Equipment Co., Inc.                       Public Service Electric and Gas Co.            July 01, 2020         June 30, 2023
Gallitzin Borough Water Authority                     First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2022
Garrod Hydraulics, Inc.                               First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2025
Gaudenzia, Inc.                                       PPL Electric Utilities                         September 01, 2020    August 31, 2024
Gaudenzia, Inc.                                       Baltimore Gas & Electric                       September 01, 2020    August 31, 2024
GC WEN Philly LLC                                     PECO Energy Company                            December 01, 2021     November 30, 2025
Gehr Plastics, Inc.                                   PECO Energy Company                            January 01, 2021      December 31, 2022
General Board of Church & Society, United Methodist
Church                                                Potomac Electric Power Company ‐ DC            December 01, 2019     November 30, 2023
General Polymeric Corporation                         First Energy Metropolitan Edison Company       July 01, 2019         June 30, 2023
General Services Administration, US                   PPL Electric Utilities                         June 01, 2018         May 31, 2022
General Services Administration, US                   PECO Energy Company                            June 01, 2020         April 30, 2022
Geo Specialty Chemicals, Inc., a Division of CPS
Performance Materials Corp.                           PPL Electric Utilities                         December 01, 2020     April 30, 2024
George M Leader Family Corp                           PPL Electric Utilities                         January 01, 2021      December 31, 2022
Georgetown Day School, Inc.                           Potomac Electric Power Company ‐ DC            December 01, 2020     November 30, 2023
Georgetown Day School, Inc.                           Potomac Electric Power Company ‐ DC            March 01, 2021        November 30, 2023
Gerrity's Super Market, Inc.                          PPL Electric Utilities                         December 01, 2019     November 30, 2022
Gerrity's Super Market, Inc.                          UGI Utilities, Inc.                            December 01, 2019     November 30, 2022
Glasgow, Inc.                                         PECO Energy Company                            January 01, 2020      December 31, 2022
Glenstone Foundation                                  Potomac Electric Power Company ‐ MD            November 01, 2020     October 31, 2023
Glenstone Foundation                                  Potomac Electric Power Company ‐ MD            March 01, 2021        October 31, 2023
Go Realty LLC DBA Birgo Realty LLC                    Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Go Realty LLC DBA Birgo Realty LLC                    Duquesne                                       June 01, 2021         November 30, 2024
Goodwill Keystone Area                                First Energy Metropolitan Edison Company       December 01, 2019     November 30, 2022
Goya Foods, Inc.                                      Public Service Electric and Gas Co.            February 01, 2021     April 30, 2023
Graham Capital Company                                First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2024
Graham Engineering Corporation                        First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2024
Graul's Market, Inc.                                  Baltimore Gas & Electric                       July 01, 2021         December 31, 2024
Great Lakes Manufacturing, Inc.                       First Energy ‐ Pennsylvania Electric Company   June 01, 2022         December 31, 2024
Greater Englewood Housing Corp                        Public Service Electric and Gas Co.            November 01, 2020     October 31, 2023
Greater Hazleton Joint Sewer Authority                PPL Electric Utilities                         January 01, 2021      December 31, 2022
Greater Hazleton Joint Sewer Authority                PPL Electric Utilities                         January 01, 2023      December 31, 2025
Greater Nanticoke Area School District                UGI Utilities, Inc.                            December 01, 2019     November 30, 2022
Greater Works Outreach Ministries, Inc.               Duquesne                                       July 01, 2020         June 30, 2022
Green Dragon Market & Auction Inc                     PPL Electric Utilities                         January 01, 2022      December 31, 2025
Green Hill Condominium Owner's Association            PECO Energy Company                            January 01, 2021      December 31, 2023
Green Hills Manor Inc                                 First Energy Metropolitan Edison Company       March 01, 2020        February 28, 2023
Green Mountain Industrial Village, LLC                Duquesne                                       June 01, 2020         May 31, 2023
Greenbelt Consumer Co‐Operative Inc                   Potomac Electric Power Company ‐ MD            October 01, 2022      December 31, 2024
Greiner Extrusion Us, Inc.                            First Energy ‐ Pennsylvania Electric Company   November 01, 2020     November 30, 2023
Greiner Industries, Inc.                              PPL Electric Utilities                         December 01, 2021     November 30, 2023
Grosfillex North America                              First Energy Metropolitan Edison Company       January 01, 2021      November 30, 2023
Grosfillex North America                              PPL Electric Utilities                         January 01, 2021      December 31, 2023
Grove U.S. L.L.c                                      West Penn Power                                June 01, 2019         May 31, 2022
Guardian Elder Care at Kingston, LLC                  UGI Utilities, Inc.                            December 01, 2019     April 30, 2022
Guardian Elder Care at Nanticoke II, LLC              UGI Utilities, Inc.                            December 01, 2019     April 30, 2022
Guardian Healthcare Home Office I, LLC DBA Guardian
Elder Care Nanticoke, LLC                             UGI Utilities, Inc.                            December 01, 2019     April 30, 2022
H. G. Roebuck & Son, Inc.                             Baltimore Gas & Electric                       December 01, 2021     November 30, 2022
Hadco Metal Trading Co., LLC                          PECO Energy Company                            September 01, 2021    August 31, 2025
Halifax Area School District                          PPL Electric Utilities                         July 01, 2021         June 30, 2024
Hamilton Precision Metals, Inc.                       PPL Electric Utilities                         December 01, 2019     November 30, 2024
HandyTube Corporation                                 Delmarva Power ‐ DE                            March 01, 2020        February 28, 2023



                                                                                                                                      Page 7 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 12 of 29


                                                               Schedule 1
                                                       Retail Purchase Agreement
                    Retail Customer Name                              Public Utility                 Term Start Date       Term End Date
Hanover Architectural Products                    First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2024
Hanover Township‐Northampton County               PPL Electric Utilities                         January 01, 2020      December 31, 2023
Harmony Castings, LLC                             Pennsylvania Power & Light                     June 01, 2021         May 31, 2023
Harrisburg Area Community College                 PPL Electric Utilities                         December 01, 2020     November 30, 2024
Harrisburg Area Community College                 PPL Electric Utilities                         May 01, 2021          April 30, 2025
Harrisburg Area Community College                 First Energy Metropolitan Edison Company       May 01, 2021          April 30, 2025
Harrisburg Area YMCA (acct XXXXXX7013) (PPL)      PPL Electric Utilities                         January 01, 2019      December 31, 2022
Harrisburg Area YMCA (Renewal)                    PPL Electric Utilities                         January 01, 2019      December 31, 2022
Harvest Baptist Church (inc)                      West Penn Power                                January 01, 2021      December 31, 2022
Hazleton City Authority                           PPL Electric Utilities                         December 01, 2019     November 30, 2023
HBP Euclid Corporation                            First Energy Cleveland Electric                December 01, 2019     November 30, 2022
Hearth & Home Technologies, LLC                   PPL Electric Utilities                         December 01, 2021     November 30, 2024
Heartland Fabrication, LLC                        West Penn Power                                January 01, 2021      December 31, 2022
Hemlock Farms Community Association               PPL Electric Utilities                         May 01, 2019          December 31, 2022
Hemlock Farms Community Association               PPL Electric Utilities                         January 01, 2021      December 31, 2022
Hemlock Municipal Sewer Cooperative               PPL Electric Utilities                         January 01, 2021      December 31, 2024
Hermitage School District                         Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Herr Foods Incorporated                           PECO Energy Company                            January 01, 2021      December 31, 2023
Herr Foods Incorporated                           Baltimore Gas & Electric                       March 01, 2021        February 29, 2024
Herr Foods Incorporated                           PPL Electric Utilities                         May 01, 2021          April 30, 2024
Heyco Metals, Inc.                                First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2023
High Company LLC                                  First Energy Metropolitan Edison Company       February 01, 2021     December 31, 2022
High Company LLC                                  PPL Electric Utilities                         February 01, 2021     December 31, 2022
Hillandale‐Gettysburg, L.P.                       First Energy Metropolitan Edison Company       February 01, 2021     January 31, 2025
Hillwood Estate, Museum & Gardens                 Potomac Electric Power Company ‐ DC            September 01, 2020    August 31, 2023
Hishi Plastics U.S.A. Inc                         Jersey Central Power & Light                   November 01, 2020     October 31, 2023
Holiday House LLC                                 Delmarva Power ‐ DE                            December 01, 2021     December 31, 2025
Hope Plaza Inc                                    PECO Energy Company                            January 01, 2021      December 31, 2023
Hopkins Villlage                                  Baltimore Gas & Electric                       January 01, 2021      December 31, 2023
Horner Sides, LLC                                 PPL Electric Utilities                         November 01, 2020     October 31, 2024
Hudson Harbour Condo Association                  Public Service Electric and Gas Co.            September 01, 2020    August 31, 2024
Humanim, Inc.                                     Baltimore Gas & Electric                       January 01, 2021      December 31, 2023
Hydac Technology Corporation                      PPL Electric Utilities                         December 01, 2020     November 30, 2022
Ideal Profressional Office Pk                     Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
iHerb, LLC                                        First Energy Metropolitan Edison Company       February 01, 2020     January 31, 2023
Independent Can Company                           Baltimore Gas & Electric                       October 01, 2019      December 31, 2024
Independent Can Company                           Baltimore Gas & Electric                       June 01, 2020         December 31, 2024
Industrial Sales & Mfg., Inc.                     First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2023
Ingram Micro Inc.                                 First Energy Metropolitan Edison Company       January 01, 2021      May 31, 2023
International Metal Reclaiming Corporation        Pennsylvania Power & Light                     September 01, 2021    December 31, 2023
International Poultry Breeders Hatcheries, Inc.   First Energy ‐ Pennsylvania Electric Company   December 01, 2019     November 30, 2024
IQE, Inc.                                         PPL Electric Utilities                         June 01, 2020         December 31, 2025
Ironwave Hospitality LLC                          Public Service Electric and Gas Co.            October 01, 2020      September 30, 2022
Isaac's Deli, Inc                                 PPL Electric Utilities                         March 01, 2021        April 30, 2022
Island Trading Post Inc                           Delmarva Power ‐ MD                            December 01, 2020     December 31, 2024
Itg Cigars Inc.                                   PPL Electric Utilities                         December 01, 2020     November 30, 2023
Itu Inc                                           First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2024
J&J Snack Foods Corporation                       Public Service Electric and Gas Co.            August 01, 2019       November 30, 2022
J&J Snack Foods Corporation                       PPL Electric Utilities                         December 01, 2019     November 30, 2022
J&J Snack Foods Corporation                       Public Service Electric and Gas Co.            December 01, 2019     November 30, 2022
J&J Snack Foods Corporation                       PPL Electric Utilities                         December 01, 2020     November 30, 2022
J. Ambrogi Food Distribution, Inc.                Public Service Electric and Gas Co.            November 01, 2020     October 31, 2022
J. Loew Property Management, Inc.                 PPL Electric Utilities                         October 01, 2020      September 30, 2022
J.A. Reinhardt & Co., Inc.                        PPL Electric Utilities                         January 01, 2020      December 31, 2022
J.L. Moyer & Sons, Inc.                           PPL Electric Utilities                         October 01, 2022      September 30, 2024
Jamestown Area School District                    Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
JB Venture 4 LLC                                  PECO Energy Company                            December 01, 2020     November 30, 2022
JBI Corp                                          First Energy Toledo Edison                     August 01, 2020       July 31, 2023
JBK Hardware                                      Delmarva Power ‐ MD                            November 01, 2020     August 31, 2024
JC. Produce Corp                                  Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
JDM Materials Co Inc.                             PPL Electric Utilities                         February 01, 2021     December 31, 2023
JDM Materials Co Inc.                             Atlantic City Electric Company                 January 01, 2022      December 31, 2023
Jewish Home of Greater Harrisburg                 PPL Electric Utilities                         December 01, 2020     November 30, 2022
JLL c/o Alliance HP Spring Mill Property, LLC     PECO Energy Company                            September 01, 2019    December 31, 2022



                                                                                                                                  Page 8 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 13 of 29


                                                                         Schedule 1
                                                                 Retail Purchase Agreement
                    Retail Customer Name                                        Public Utility                Term Start Date      Term End Date
JLL c/o Alliance HP Spring Mill Property, LLC               PECO Energy Company                            December 01, 2019    December 31, 2022
Joe Jurgielewicz & Son Ltd                                  First Energy Metropolitan Edison Company       June 01, 2020        May 31, 2022
Joe Jurgielewicz & Son Ltd (1 Acct) (MetEd)                 First Energy Metropolitan Edison Company       May 01, 2020         May 31, 2022
Joe Jurgielewicz & Son Ltd (MetEd)                          First Energy Metropolitan Edison Company       May 01, 2020         May 31, 2022
John F. Martin & Sons, Inc.                                 PPL Electric Utilities                         December 01, 2020    November 30, 2023
John Sauder Buick Pontiac Chevrolet                         PPL Electric Utilities                         June 01, 2019        May 31, 2024
Joint Municipal Authority of Wyomissing Valley, Berks
County                                                      First Energy Metropolitan Edison Company       January 01, 2021     December 31, 2024
Joseph A Fluehr III Funeral Home Inc                        PECO Energy Company                            May 01, 2020         April 30, 2022
Joseph Fazzio Inc.                                          Atlantic City Electric Company                 February 01, 2020    January 31, 2023
Joy Cone Co.                                                Pennsylvania Power & Light                     October 01, 2022     September 30, 2025
Juniata Valley School District                              First Energy ‐ Pennsylvania Electric Company   January 01, 2021     June 30, 2023
Just Born, Inc.                                             PPL Electric Utilities                         January 01, 2021     December 31, 2022
Just Born, Inc.                                             PECO Energy Company                            January 01, 2021     December 31, 2022
JVK Operations Limited                                      Atlantic City Electric Company                 December 01, 2020    November 30, 2023
Kadima Healthcare Group LLC                                 UGI Utilities, Inc.                            May 01, 2019         April 30, 2022
Kam Man Holdings I LLC                                      Public Service Electric and Gas Co.            May 01, 2021         April 30, 2024
Karns Prime and Fancy Food, LTD                             First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2022
Karns Prime and Fancy Food, LTD                             PPL Electric Utilities                         December 01, 2020    November 30, 2022
Kci Technologies, Inc.                                      Baltimore Gas & Electric                       January 01, 2021     December 31, 2024
Keating Development Company                                 Public Service Electric and Gas Co.            April 01, 2021       November 30, 2025
Kegel's Produce, Inc.                                       PPL Electric Utilities                         May 01, 2021         April 30, 2022
Kelly Township Municipal Authority                          PPL Electric Utilities                         October 01, 2019     September 30, 2024
Keystone Adoles Cntr                                        Pennsylvania Power & Light                     June 01, 2021        November 30, 2024
Keystone Forging Company                                    PPL Electric Utilities                         February 01, 2020    January 31, 2023
Keystone Powdered Metal Company                             First Energy ‐ Pennsylvania Electric Company   December 01, 2023    November 30, 2025
Keystone Properties Group, Inc Ericsson Drive Associates,
LP                                                          Pennsylvania Power & Light                     December 01, 2020    November 30, 2023
K‐Fab, Inc.                                                 PPL Electric Utilities                         January 01, 2021     December 31, 2023
Kinetico Incorporated                                       First Energy Cleveland Electric                March 01, 2020       November 30, 2022
Kingsbury Corporation                                       Public Service Electric and Gas Co.            November 01, 2020    October 31, 2023
Kirkwood House Preservation Limited Partnership             Baltimore Gas & Electric                       January 01, 2021     December 31, 2023
Kline Township Municipal Authority                          PPL Electric Utilities                         January 01, 2021     December 31, 2022
Kloeckner Metals Corporation                                First Energy Metropolitan Edison Company       January 01, 2021     December 31, 2023
Knitting 1, LLC                                             First Energy Metropolitan Edison Company       March 01, 2021       October 31, 2023
Koryeo International Corp.                                  Public Service Electric and Gas Co.            October 01, 2020     September 30, 2023
KPG One Washington LLC                                      PECO Energy Company                            January 01, 2021     December 31, 2023
Kristy's Kuts, Inc                                          Public Service Electric and Gas Co.            April 01, 2019       March 31, 2023
Kunzler & Company, Inc.                                     First Energy ‐ Pennsylvania Electric Company   January 01, 2021     December 31, 2023
Kunzler & Company, Inc.                                     PPL Electric Utilities                         January 01, 2021     December 31, 2023
Kutztown Auto Company                                       First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2023
L.S. Starrett Co. / Webber Gage Div.                        First Energy Cleveland Electric                May 01, 2021         April 30, 2025
Laboratory Testing, Inc.                                    PPL Electric Utilities                         January 01, 2020     December 31, 2022
Lake Arrowhead Community Association                        PPL Electric Utilities                         November 01, 2020    October 31, 2023
Lake Erie Frozen Foods                                      First Energy Ohio Edison                       June 01, 2020        May 31, 2023
Lancaster Archery Supply, Inc.                              PPL Electric Utilities                         January 01, 2021     December 31, 2024
Lancaster Area Sewer Authority                              PPL Electric Utilities                         January 01, 2021     December 31, 2024
Lancaster County Motors, Inc.                               PPL Electric Utilities                         November 01, 2022    October 31, 2025
Lancaster Leaf Tobacco Company of Pennsylvania, Inc.        PPL Electric Utilities                         December 01, 2020    November 30, 2022
Lancaster Mennonite Conference Schools, Inc                 PPL Electric Utilities                         July 01, 2020        June 30, 2023
Lancaster Metal Manufacturing, Inc.                         PPL Electric Utilities                         May 01, 2020         April 30, 2022
Lancaster Metal Manufacturing, Inc.                         PPL Electric Utilities                         May 01, 2022         April 30, 2023
Lear Corporation                                            PPL Electric Utilities                         January 01, 2020     December 31, 2022
Lebanon School District                                     First Energy Metropolitan Edison Company       June 01, 2020        May 31, 2022
Lebanon Village Limited Partnership                         First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2023
Legend Biotech Corp.                                        Public Service Electric and Gas Co.            August 01, 2020      December 31, 2025
Leggett & Platt, Incorporated                               UGI Utilities, Inc.                            June 01, 2021        May 31, 2023
Lehigh Asphalt Pavings & Construction Co, Inc.              PPL Electric Utilities                         January 01, 2020     December 31, 2022
Lehigh Heavy Forge Corporation                              PPL Electric Utilities                         December 01, 2019    November 30, 2022
Lehigh Northampton Airport Authority                        PPL Electric Utilities                         January 01, 2020     December 31, 2023
Lehigh Valley Industrial Park, Inc.                         PPL Electric Utilities                         December 01, 2019    December 31, 2023
Lenape Regional High School District                        Public Service Electric and Gas Co.            May 01, 2021         April 30, 2023
Leng‐D'or USA Inc.                                          Public Service Electric and Gas Co.            November 01, 2020    October 31, 2024
Liberty Truck Center, Inc.                                  First Energy ‐ Pennsylvania Electric Company   December 01, 2020    November 30, 2023



                                                                                                                                           Page 9 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 14 of 29


                                                                         Schedule 1
                                                                 Retail Purchase Agreement
                    Retail Customer Name                                      Public Utility                  Term Start Date      Term End Date
Liberty Truck Center, Inc.                                  First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2023
Liberty Truck Center, Inc. ‐ Raceway Management Co. Inc.
(PPL)                                                       PPL Electric Utilities                         December 01, 2020    November 30, 2023
Liberty Truck Center, Inc. (PPL)                            PPL Electric Utilities                         December 01, 2020    November 30, 2023
Linde Inc.                                                  Delmarva Power ‐ DE                            June 01, 2021        May 31, 2023
Lititz Area Mennonite School                                PPL Electric Utilities                         November 01, 2019    April 30, 2022
Lititz Borough                                              PPL Electric Utilities                         January 01, 2022     December 31, 2025
Little Sisters of The Poor Inc                              Delmarva Power ‐ DE                            May 01, 2020         April 30, 2022
Lock Haven University Of Pennsylvania                       PPL Electric Utilities                         January 01, 2021     December 31, 2023
Lockwood Associates, LLC                                    Baltimore Gas & Electric                       January 01, 2020     December 31, 2022
Locust Grove Facility Operations, LLC                       PPL Electric Utilities                         December 01, 2020    November 30, 2023
Lower Dauphin School District                               PPL Electric Utilities                         July 01, 2020        June 30, 2024
Lower Dauphin School District                               First Energy Metropolitan Edison Company       July 01, 2020        June 30, 2024
Loyola University Maryland, Inc.                            Baltimore Gas & Electric                       June 01, 2021        May 31, 2023
LP Cambridge LLC                                            Delmarva Power ‐ MD                            January 01, 2021     December 31, 2023
Lujo Grocers LLC                                            First Energy ‐ Pennsylvania Electric Company   December 01, 2020    November 30, 2023
Lupin Pharmaceuticals, Inc.                                 Public Service Electric and Gas Co.            July 01, 2019        June 30, 2022
Luther Ridge Facility Operations, LLC                       PPL Electric Utilities                         December 01, 2020    November 30, 2023
Lutheran Social Ministries of New Jersey, Inc.              Public Service Electric and Gas Co.            December 01, 2020    November 30, 2025
Main Line Health System                                     PECO Energy Company                            January 01, 2019     December 31, 2022
Main Line Health System                                     PECO Energy Company                            June 01, 2020        December 31, 2025
Main Line Health System                                     PECO Energy Company                            January 01, 2021     December 31, 2025
Main Line Health System                                     PECO Energy Company                            January 01, 2023     December 31, 2025
Mallard Contracting Co. Inc.                                PPL Electric Utilities                         March 01, 2020       November 30, 2025
Manheim Township School District                            PPL Electric Utilities                         July 01, 2021        June 30, 2022
Manor at St. Luke Village Facility Operations, LLC          PPL Electric Utilities                         December 01, 2020    November 30, 2023
Mansfield University of Pennsylvania (Inc.)                 First Energy ‐ Pennsylvania Electric Company   January 01, 2019     December 31, 2022
Maple Donuts, Inc.                                          First Energy ‐ Pennsylvania Electric Company   January 01, 2022     December 31, 2023
Maple Donuts, Inc.                                          First Energy ‐ Pennsylvania Electric Company   January 01, 2024     December 31, 2025
Maquet Cardiovascular LLC                                   Public Service Electric and Gas Co.            December 01, 2020    March 31, 2023
Marcho Farms Inc.                                           PPL Electric Utilities                         December 01, 2020    November 30, 2023
Marcum LLP                                                  First Energy Cleveland Electric                May 01, 2022         October 31, 2024
Marlboro Manufacturing, Inc.                                First Energy Ohio Edison                       December 01, 2021    November 30, 2023
Martin Jf Family Corporation                                PPL Electric Utilities                         December 01, 2022    November 30, 2025
Martin Jf Family Corporation                                PPL Electric Utilities                         December 01, 2023    November 30, 2025
Martino Enterprises, Inc.                                   First Energy ‐ Pennsylvania Electric Company   May 01, 2020         April 30, 2022
Martins' Country Markets LLC                                PPL Electric Utilities                         December 01, 2020    November 30, 2023
Masonic Villages of the Grand Lodge of Pennsylvania         PPL Electric Utilities                         December 01, 2020    November 30, 2024

Masonic Villages of the Grand Lodge of Pennsylvania, Inc.   UGI Utilities, Inc.                            April 01, 2020       May 31, 2022

Masonic Villages of the Grand Lodge of Pennsylvania, Inc.   UGI Utilities, Inc.                            May 01, 2020         May 31, 2022
Matson Lumber Co                                            First Energy ‐ Pennsylvania Electric Company   January 01, 2021     December 31, 2022
McCarthy Tire Service Company                               PPL Electric Utilities                         December 01, 2021    November 30, 2023
McClarin Plastics, LLC.                                     First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2024
McCluskey Chevrolet                                         Duke Energy                                    June 01, 2022        May 31, 2025
McDonald Steel Corporation                                  First Energy Ohio Edison                       June 01, 2020        May 31, 2023
McDonald's of Lancaster                                     PPL Electric Utilities                         December 01, 2021    November 30, 2023
McDonogh School, Inc.                                       Baltimore Gas & Electric                       June 01, 2021        May 31, 2023
McNees Wallace & Nurick LLC                                 PPL Electric Utilities                         December 01, 2020    November 30, 2024
MCP II Park Plaza I LLC                                     Potomac Electric Power Company ‐ MD            June 01, 2021        May 31, 2022
MCP II Park Plaza II LLC                                    Potomac Electric Power Company ‐ MD            June 01, 2021        May 31, 2022
Medistar Corporation                                        Delmarva Power ‐ DE                            September 01, 2020   November 30, 2022
Megas Yeeros, LLC                                           Public Service Electric and Gas Co.            November 01, 2020    October 31, 2023
Melitta U.S.A., Inc.                                        Public Service Electric and Gas Co.            December 01, 2019    November 30, 2022
Members 1st Federal Credit Union                            First Energy Metropolitan Edison Company       December 01, 2020    November 30, 2023
Members 1st Federal Credit Union                            PPL Electric Utilities                         December 01, 2020    November 30, 2023
Mercer Area School District                                 Pennsylvania Power & Light                     June 01, 2021        November 30, 2024
Messiah Lifeways Community                                  PPL Electric Utilities                         December 01, 2021    November 30, 2024
MGS, Inc.                                                   PPL Electric Utilities                         December 01, 2020    November 30, 2023
MHF Princeton Manager IV LLC                                Public Service Electric and Gas Co.            September 01, 2020   August 31, 2022
Micro Mold Co                                               First Energy ‐ Pennsylvania Electric Company   December 01, 2022    November 30, 2023
Middle Smithfield Township                                  First Energy Metropolitan Edison Company       September 01, 2021   August 31, 2025




                                                                                                                                          Page 10 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 15 of 29


                                                                        Schedule 1
                                                                Retail Purchase Agreement
                   Retail Customer Name                                     Public Utility                   Term Start Date      Term End Date
Mifflintown Municipal Authority & Twin Boroughs Sanitary
Authority                                                  PPL Electric Utilities                         April 01, 2020       March 31, 2024
Mikes Bilo Supermarket                                     First Energy ‐ Pennsylvania Electric Company   May 01, 2020         October 31, 2022
Milford‐Trumbauersville Area Sewer Authority               PPL Electric Utilities                         February 01, 2019    January 31, 2023
Millenium Operations, LLC                                  PPL Electric Utilities                         November 01, 2019    October 31, 2023
Millersburg Area Authority                                 PPL Electric Utilities                         December 01, 2019    November 30, 2022
Millersville Borough                                       PPL Electric Utilities                         April 01, 2021       March 31, 2025
Millwood, Inc.                                             PPL Electric Utilities                         January 01, 2020     April 30, 2022
Millwood, Inc.                                             PPL Electric Utilities                         June 01, 2020        May 31, 2022
Mitsubishi Chemical Advanced Materials Inc                 PPL Electric Utilities                         December 01, 2021    November 30, 2024
Molded Fiber Glass Companies                               First Energy ‐ Pennsylvania Electric Company   January 01, 2022     December 31, 2025
Monica Inc                                                 PPL Electric Utilities                         December 01, 2020    November 30, 2023
Montgomery County Community College                        PECO Energy Company                            January 01, 2021     December 31, 2024
Montgomery Montgomery Montgomery                           PPL Electric Utilities                         March 01, 2022       November 30, 2025
Moran Industries                                           First Energy Metropolitan Edison Company       December 01, 2019    April 30, 2022
Moran Industries                                           PPL Electric Utilities                         January 01, 2020     April 30, 2022
Moravian Manors, Inc.                                      PPL Electric Utilities                         December 01, 2020    November 30, 2023
Morgan Advanced Materials and Technology, INC.             West Penn Power                                December 01, 2020    November 30, 2025
Morgan Truck Body, LLC                                     PPL Electric Utilities                         April 01, 2021       March 31, 2024
Moroco Family Limited Partnership                          First Energy ‐ Pennsylvania Electric Company   May 01, 2020         April 30, 2022
Mount Airy Lumber Company                                  PPL Electric Utilities                         March 01, 2021       April 30, 2022
Mount Joy Wire Corporation                                 PPL Electric Utilities                         December 01, 2019    November 30, 2024
Mountain Ridge Metals, LLC                                 PPL Electric Utilities                         May 01, 2019         December 31, 2023
Mountain View School District                              First Energy ‐ Pennsylvania Electric Company   January 01, 2021     December 31, 2024
Mountaire Farms of Delaware, Inc.                          Delmarva Power ‐ MD                            December 01, 2020    November 30, 2023
Mountaire Farms of Delaware, Inc.                          Delmarva Power ‐ DE                            December 01, 2020    November 30, 2023
MREF II 3550 Market L.P.                                   PECO Energy Company                            November 01, 2020    October 31, 2023
Mt Calvary Church of Elizabeth                             PPL Electric Utilities                         May 01, 2019         April 30, 2022
Mullan Enterprises, Inc.                                   Baltimore Gas & Electric                       August 01, 2021      July 31, 2024
Municipal Authority of The Borough of West View            Duquesne                                       July 01, 2019        December 31, 2024
Municipal Authority of The Borough of West View            Duquesne                                       January 01, 2022     December 31, 2024
Municipal Authority of The Borough of West View            Pennsylvania Power & Light                     January 01, 2022     December 31, 2024
National Flight Services Inc                               First Energy Toledo Edison                     December 01, 2021    November 30, 2025
National Medical Services Inc                              PECO Energy Company                            April 01, 2020       October 31, 2022
National Medical Services Inc                              PECO Energy Company                            May 01, 2021         October 31, 2022
National Mentor Holdings LLC                               Public Service Electric and Gas Co.            August 01, 2020      July 31, 2025
National Mentor Holdings LLC                               Jersey Central Power & Light                   August 01, 2020      July 31, 2025
National Mentor Holdings LLC                               Atlantic City Electric Company                 August 01, 2020      July 31, 2025
Naura Akrion Inc                                           PPL Electric Utilities                         February 01, 2019    January 31, 2023
Navratan LLC                                               Public Service Electric and Gas Co.            December 01, 2020    November 30, 2024
Neema Selinsgrove Dg, LP                                   PPL Electric Utilities                         December 01, 2020    November 30, 2023
Nello's Specialty Meats LLC                                PPL Electric Utilities                         October 01, 2021     September 30, 2024
Nelson Steel Products, Inc.                                PPL Electric Utilities                         January 01, 2020     December 31, 2022
Nemacolin Country Club                                     West Penn Power                                January 01, 2020     June 30, 2022
Nemacolin Country Club                                     West Penn Power                                November 01, 2020    July 31, 2022
Nessco Enterprises LLC                                     PPL Electric Utilities                         June 01, 2019        May 31, 2023
New Concept Technology, Inc.                               First Energy Metropolitan Edison Company       June 01, 2021        May 31, 2024
New Enterprise Stone & Lime Co., Inc.                      PPL Electric Utilities                         November 01, 2022    October 31, 2024
New Enterprise Stone & Lime Co., Inc.                      First Energy ‐ Pennsylvania Electric Company   December 01, 2022    November 30, 2024
New Hudson Facades LLC                                     PECO Energy Company                            January 01, 2023     December 31, 2025
New Jersey Performing Arts Center Corporation              Public Service Electric and Gas Co.            September 01, 2020   August 31, 2022
New Prime Inc.                                             PPL Electric Utilities                         December 01, 2020    November 30, 2023
Ninth and Sansom, LP                                       PECO Energy Company                            November 01, 2020    October 31, 2023
Nissin Foods (USA) Company, Inc.                           PPL Electric Utilities                         November 01, 2020    October 31, 2022
Nokia of America Corporation                               Jersey Central Power & Light                   January 01, 2022     December 31, 2022
Norfolk Southern Corporation                               First Energy Cleveland Electric                January 01, 2021     December 31, 2024
North East School District                                 First Energy ‐ Pennsylvania Electric Company   December 01, 2021    November 30, 2024
North Londonderry Twp                                      First Energy Metropolitan Edison Company       October 01, 2020     September 30, 2024
North Plainfield Nissan LLC                                Public Service Electric and Gas Co.            January 01, 2021     December 31, 2023
Northampton Borough Municipal Authority (LG accts)         PPL Electric Utilities                         January 01, 2021     December 31, 2023
Northampton Borough Municipal Authority (SM Accts)         PPL Electric Utilities                         January 01, 2021     December 31, 2023
Northeast Building Products Corp.                          PECO Energy Company                            February 01, 2021    May 31, 2022
Novolex Holdings, LLC.                                     West Penn Power                                December 01, 2020    November 30, 2023
NWDC Operating LLC                                         Potomac Electric Power Company ‐ DC            December 01, 2019    November 30, 2023



                                                                                                                                         Page 11 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 16 of 29


                                                                      Schedule 1
                                                              Retail Purchase Agreement
                     Retail Customer Name                                    Public Utility                 Term Start Date       Term End Date
Oakmont Water Authority                                  Duquesne                                       January 01, 2022      December 31, 2025
Odd Fellows Home of Pennsylvania                         PPL Electric Utilities                         December 01, 2019     November 30, 2022
Ohio Department of Rehabilitation and Correction         First Energy Ohio Edison                       February 01, 2021     January 31, 2024
Ohio Tri County Food Alliance                            First Energy Ohio Edison                       October 01, 2020      September 30, 2023
Ohio Valley Medical Center                               First Energy Ohio Edison                       May 01, 2020          April 30, 2023
Oil City, City of (inc)                                  First Energy ‐ Pennsylvania Electric Company   December 01, 2020     December 31, 2023
Old Dominion Freight Line Inc                            Public Service Electric and Gas Co.            July 01, 2021         June 30, 2024

Old Man's Home of Philadelphia dba Saunders House Care   PECO Energy Company                            July 01, 2020         December 31, 2024
Oldcastle BuildingEnvelope, Inc.                         First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2024
One Commerce Center Condominium Council                  Delmarva Power ‐ DE                            December 01, 2020     November 30, 2024
Opsec Security, Inc.                                     PPL Electric Utilities                         December 01, 2020     November 30, 2022
OraSure Technologies, Inc.                               PPL Electric Utilities                         September 01, 2019    December 31, 2023
Orlo Gaithersburg LLC                                    Potomac Electric Power Company ‐ MD            October 01, 2020      September 30, 2023
Orlo Takoma LLC                                          Potomac Electric Power Company ‐ MD            June 01, 2021         May 31, 2024
Owens & Minor, Inc.                                      Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Oxford Club of Wexford                                   Pennsylvania Power & Light                     September 01, 2020    August 31, 2023
Paramount Metal Finishing Co Inc                         Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
Paramount Plaza LLC                                      Jersey Central Power & Light                   December 01, 2020     November 30, 2022
Paramus Auto Mall Chevrolet‐Geo Inc.                     Public Service Electric and Gas Co.            October 01, 2020      September 30, 2024
Paramus Woodbrook Venture, LLC                           Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
Park 80 East, LLC                                        Public Service Electric and Gas Co.            December 01, 2020     June 30, 2023
Park Hudson Tenants Corp                                 Public Service Electric and Gas Co.            September 01, 2021    August 31, 2024
Particle Size Technology Inc                             PPL Electric Utilities                         June 01, 2019         May 31, 2023
Paulaur Corporation                                      Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Pavilion At St. Luke Village Facility Operations, LLC    PPL Electric Utilities                         December 01, 2020     November 30, 2023
Pel Healthcare LLC                                       PPL Electric Utilities                         December 01, 2020     November 30, 2023
Pellman Foods, Inc.                                      PPL Electric Utilities                         January 01, 2021      December 31, 2024
Penn Cambria School District                             First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Penn Dairy LLC                                           PPL Electric Utilities                         December 01, 2022     November 30, 2025
Penn Stainless Products, Inc.                            PPL Electric Utilities                         May 01, 2018          April 30, 2022
Penn Stainless Products, Inc.                            Pennsylvania Power & Light                     October 01, 2020      September 30, 2024
Penn Terminals, LLC                                      PECO Energy Company                            March 01, 2021        February 29, 2024
Penn Village Facility Operations, LLC                    PPL Electric Utilities                         December 01, 2020     November 30, 2023
Penn Wood Products, Inc.                                 First Energy Metropolitan Edison Company       July 01, 2019         June 30, 2023
Penna Flame Industries Inc                               Pennsylvania Power & Light                     February 01, 2023     January 31, 2025
Pennsylvania ‐ American Water Company                    West Penn Power                                January 01, 2022      December 31, 2023
Penn‐Union Corp.                                         First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
PeoplesBank, A Codorus Valley Company                    First Energy Metropolitan Edison Company       December 01, 2019     November 30, 2022
Pep‐Up, Inc.                                             Delmarva Power ‐ DE                            November 01, 2020     October 31, 2023
Performance Food Group                                   Public Service Electric and Gas Co.            April 01, 2021        March 31, 2023
Philabundance                                            PECO Energy Company                            October 01, 2020      November 30, 2023
PHL Shanti LLC                                           PECO Energy Company                            May 01, 2020          April 30, 2022
Phoenix Sintered Metals, LLC                             First Energy ‐ Pennsylvania Electric Company   October 01, 2020      November 30, 2023
Piazza Management Company                                Delmarva Power ‐ DE                            October 01, 2020      October 31, 2025
Piazza Management Company                                Delmarva Power ‐ DE                            November 01, 2020     October 31, 2025
Pine Grove Area School District                          PPL Electric Utilities                         July 01, 2020         June 30, 2022
Pine Township, Allegheny County                          Pennsylvania Power & Light                     November 01, 2020     November 30, 2023
Plain'n Fancy Kitchens, Inc                              PPL Electric Utilities                         January 01, 2021      December 31, 2023
Plastikos, Inc.                                          First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2023
Pleasant View Retirement Community                       PPL Electric Utilities                         February 01, 2020     January 31, 2024
Ply Gem Industries, Inc.                                 First Energy Ohio Edison                       December 01, 2020     November 30, 2023
PMC Property Group, Inc.                                 PECO Energy Company                            January 01, 2022      June 30, 2022
PMC Property Group, Inc.                                 PECO Energy Company                            July 01, 2022         December 31, 2022
PMC Property Group, Inc.                                 PECO Energy Company                            January 01, 2023      June 30, 2023
PMC Property Group, Inc.                                 PECO Energy Company                            July 01, 2023         December 31, 2023
PMC Property Group, Inc.                                 Baltimore Gas & Electric                       August 01, 2026       August 31, 2029
Pocono Produce Co., Inc.                                 PPL Electric Utilities                         January 01, 2021      December 31, 2023
Pocono Vacation Park Inc                                 First Energy Metropolitan Edison Company       May 01, 2022          April 30, 2025
Podnar Plastics, Inc.                                    First Energy Ohio Edison                       September 01, 2022    August 31, 2025
Polymer Molding, Inc.                                    First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Pond Run Housing L.P.                                    Public Service Electric and Gas Co.            November 01, 2020     October 31, 2023
Ponzio's Kingsway Diner Inc                              Public Service Electric and Gas Co.            September 01, 2020    October 31, 2023
Port Authority of Allegheny County                       West Penn Power                                January 01, 2021      December 31, 2024



                                                                                                                                        Page 12 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 17 of 29


                                                                   Schedule 1
                                                           Retail Purchase Agreement
                     Retail Customer Name                                 Public Utility                 Term Start Date       Term End Date
Port Erie Plastics, Inc.                              First Energy ‐ Pennsylvania Electric Company   May 01, 2020          April 30, 2022
Port Erie Plastics, Inc.                              First Energy ‐ Pennsylvania Electric Company   May 01, 2022          April 30, 2024
Potts Welding & Boiler Repair Co., Inc.               Delmarva Power ‐ DE                            December 01, 2019     November 30, 2024
Premier Custom‐Built, Inc.                            PPL Electric Utilities                         June 01, 2021         May 31, 2023
Premier Custom‐Built, Inc.                            PPL Electric Utilities                         June 01, 2023         November 30, 2024
Premium Waters Inc                                    PPL Electric Utilities                         January 01, 2021      December 31, 2022
Presbyterian Homes in the Presbytery of Huntingdon    First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
Price & Gannon Inc                                    Delmarva Power ‐ MD                            September 01, 2020    August 31, 2024
Prime Conduit, Inc.                                   First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2025
Prism Plastics, Inc.                                  First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2023
Pronios Markets Inc                                   PPL Electric Utilities                         November 01, 2021     October 31, 2024
Prospect Crozer, LLC                                  PECO Energy Company                            January 01, 2020      December 31, 2022
Prospect Crozer, LLC                                  PECO Energy Company                            March 01, 2020        December 31, 2022
Punxsutawney Finishing Works, Inc.                    First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2024
Quality Custom Cabinetry, Inc.                        PPL Electric Utilities                         January 01, 2021      December 31, 2023
Quality Foods Corporation DBA Kuhn?s Market           Duquesne                                       October 01, 2020      April 30, 2023
Quarryville Presbyterian Retirement Community         PPL Electric Utilities                         January 01, 2024      December 31, 2025
Quarryville Presbyterian Retirement Community (Add
Accts)(PPL)                                           PPL Electric Utilities                         January 01, 2021      December 31, 2023
Quarryville Presbyterian Retirement Community (PPL)   PPL Electric Utilities                         January 01, 2021      December 31, 2023
Rable Machine Inc                                     First Energy Ohio Edison                       December 01, 2019     November 30, 2022
Ralph and Paul Adams, Inc.                            Delmarva Power ‐ DE                            February 01, 2021     January 31, 2024
Ran Holding Corp                                      PPL Electric Utilities                         February 01, 2021     October 31, 2024
Reading Alloys, Inc.                                  PPL Electric Utilities                         December 01, 2019     November 30, 2024
Readington Farms, Inc.                                Jersey Central Power & Light                   December 01, 2021     November 30, 2022
Red Lion Municipal Authority                          First Energy Metropolitan Edison Company       January 01, 2023      December 31, 2025
Redmed LLC                                            Baltimore Gas & Electric                       January 01, 2020      December 31, 2023
Reed Manufacturing Company Inc                        First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
Regenex Corporation                                   Pennsylvania Power & Light                     December 01, 2021     November 30, 2023
Regional Learning Alliance                            Pennsylvania Power & Light                     July 01, 2021         June 30, 2025
Rehrig Pacific Company                                First Energy ‐ Pennsylvania Electric Company   December 01, 2020     November 30, 2023
Reliable Castings Corporation                         Duke Energy                                    December 01, 2020     November 30, 2024
Reliable Recycling Center                             Potomac Edison                                 June 01, 2020         May 31, 2024
Remco, Inc                                            PPL Electric Utilities                         December 01, 2020     November 30, 2024
Renewal Processing, Inc                               PPL Electric Utilities                         February 01, 2021     January 31, 2024
Rental Management Inc                                 Delmarva Power ‐ MD                            June 01, 2020         May 31, 2023
Reserve Officers Association of United States         Potomac Electric Power Company ‐ DC            April 01, 2021        September 30, 2022
Rest Haven York                                       First Energy Metropolitan Edison Company       July 01, 2021         December 31, 2023
Restaurant Depot, LLC                                 PPL Electric Utilities                         September 01, 2020    August 31, 2022
Restaurant Depot, LLC                                 PECO Energy Company                            September 01, 2020    August 31, 2022
Restaurant Depot, LLC                                 Jersey Central Power & Light                   September 01, 2020    August 31, 2022
Restaurant Depot, LLC                                 Public Service Electric and Gas Co.            September 01, 2020    August 31, 2022
Rettew Associates, Inc.                               PPL Electric Utilities                         December 01, 2020     November 30, 2024
Rex Heat Treat                                        First Energy ‐ Pennsylvania Electric Company   January 01, 2021      December 31, 2023
Reynolds School District                              Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Richard J. Caron Foundation                           PPL Electric Utilities                         January 01, 2021      December 31, 2022
Richter Precision, Inc.                               PPL Electric Utilities                         January 01, 2020      December 31, 2022
Ritcheys Dairy Inc.                                   First Energy ‐ Pennsylvania Electric Company   December 01, 2020     November 30, 2023
River‐Pw Hotel Limited Partnership                    Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
Riviana Foods Inc.                                    PPL Electric Utilities                         January 01, 2020      December 31, 2022
RLS Cold Storage of Pittston, PA Inc                  PPL Electric Utilities                         December 01, 2020     November 30, 2023
Rockville Fuel and Feed Company, Incorporated         Potomac Electric Power Company ‐ MD            October 01, 2020      September 30, 2023
Rockville Fuel and Feed Company, Incorporated         Baltimore Gas & Electric                       October 01, 2020      September 30, 2023
Roland Park Place, Inc.                               Baltimore Gas & Electric                       May 01, 2020          December 31, 2024
Roman Catholic Diocese of Paterson                    Public Service Electric and Gas Co.            September 01, 2020    August 31, 2023
Romark Logistics of PA, Inc.                          PPL Electric Utilities                         January 01, 2021      December 31, 2024
Ron Jones Hardwood Sales, Inc.                        First Energy ‐ Pennsylvania Electric Company   December 01, 2020     November 30, 2023
Roselle Senior Citizens Housing Corp.                 Public Service Electric and Gas Co.            December 01, 2020     May 31, 2023
Route One Corporation                                 Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
R‐V Industries, Inc.                                  PPL Electric Utilities                         December 01, 2020     November 30, 2023
S Schiff Restaurant Service Inc                       UGI Utilities, Inc.                            July 01, 2020         June 30, 2023
S&A Molders Inc                                       Jersey Central Power & Light                   July 01, 2022         December 31, 2023
SA Recycling LLC                                      PPL Electric Utilities                         January 01, 2021      December 31, 2023
Saint Anne's Retirement Community                     PPL Electric Utilities                         November 01, 2020     May 31, 2024



                                                                                                                                     Page 13 of 17
                Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 18 of 29


                                                                         Schedule 1
                                                                 Retail Purchase Agreement
                  Retail Customer Name                                          Public Utility                 Term Start Date      Term End Date
Saint Anne's Retirement Community                           PPL Electric Utilities                         May 01, 2021          May 31, 2024
Saubel's Market, Inc.                                       First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2023
Schenker, Inc.                                              PPL Electric Utilities                         June 01, 2020         May 31, 2023
Schott North America, Inc.                                  PPL Electric Utilities                         January 01, 2021      December 31, 2022
Scranton Hospital Company, LLC                              PPL Electric Utilities                         January 01, 2019      December 31, 2022
Scranton‐Quincy Hospital Company, LLC                       PPL Electric Utilities                         January 01, 2021      December 31, 2022
Sechan Electronics, Inc.                                    PPL Electric Utilities                         January 01, 2020      May 31, 2022
Select Capital Commercial Properties                        PPL Electric Utilities                         January 01, 2022      December 31, 2024

Select Medical Corporation, on behalf of its wholly owned
subsidiary, Kessler Institute for Rehabilitation, Inc.    Public Service Electric and Gas Co.              March 01, 2020        November 30, 2022

Select Medical Corporation, on behalf of its wholly owned
subsidiary, Kessler Institute for Rehabilitation, Inc.      Jersey Central Power & Light                   June 01, 2020         November 30, 2022
Select Veal Feeds Inc.                                      PPL Electric Utilities                         December 01, 2020     November 30, 2023
Selinsgrove Area School District (Inc)                      PPL Electric Utilities                         December 01, 2021     November 30, 2025
Senior Somerville Citizen Housing Inc                       Public Service Electric and Gas Co.            October 01, 2020      September 30, 2023
Sentinel Connector Systems, Inc.                            First Energy Metropolitan Edison Company       June 01, 2020         November 30, 2022
Service 1st Federal Credit Union                            PPL Electric Utilities                         January 01, 2021      December 31, 2025
SH Plaza, LLC                                               Jersey Central Power & Light                   December 01, 2020     November 30, 2022
Shamokin Housing Assoc. ( Lincoln Towers)                   PPL Electric Utilities                         November 01, 2020     October 31, 2024
Sharon City School District                                 Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Sharpsville Area School District                            Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
Sheetz, Inc.                                                UGI Utilities, Inc.                            December 01, 2021     November 30, 2023
Sheetz, Inc.                                                Pennsylvania Power & Light                     September 01, 2023    December 31, 2024
Shore Natural Rx, LLC                                       Delmarva Power ‐ MD                            February 01, 2021     January 31, 2025
Sigmapharm Laboratories, LLC                                PECO Energy Company                            December 01, 2020     November 30, 2023
Signature Flight Support Corporation                        Atlantic City Electric Company                 December 01, 2020     November 30, 2023
Signature Flight Support Corporation                        Jersey Central Power & Light                   December 01, 2020     November 30, 2023
Signature Flight Support Corporation                        Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Silgan Plastics Corporation                                 First Energy ‐ Pennsylvania Electric Company   January 01, 2020      December 31, 2022
Silgan Plastics Corporation                                 PECO Energy Company                            March 01, 2020        December 31, 2022
Silgan White Cap Corporation                                PPL Electric Utilities                         January 01, 2021      December 31, 2022
Silgan White Cap Corporation                                Pennsylvania Power & Light                     January 01, 2021      December 31, 2022
Simona America Industries LLC                               PPL Electric Utilities                         January 01, 2021      December 31, 2023
Sippel Co., Inc.                                            Duquesne                                       May 01, 2020          April 30, 2023
SJV 1 Frederick Opco LLC                                    Potomac Edison                                 April 01, 2021        December 31, 2023
Skills of Central Pennsylvania, Inc.                        PPL Electric Utilities                         May 01, 2018          April 30, 2022
Sleep Inn                                                   PPL Electric Utilities                         April 01, 2020        March 31, 2024
Slippery Rock Campground Association                        West Penn Power                                December 01, 2021     November 30, 2025
Sofo & Sons                                                 First Energy Toledo Edison                     November 01, 2019     May 31, 2022
Sofo & Sons                                                 First Energy Toledo Edison                     June 01, 2020         May 31, 2022
Solar Atmospheres, Inc.                                     PPL Electric Utilities                         December 01, 2021     November 30, 2025
Solidstate Controls, LLC                                    Columbus Southern Power Company                May 01, 2020          April 30, 2022
Somerset Trust Company                                      First Energy ‐ Pennsylvania Electric Company   April 01, 2022        March 31, 2025
Somerset Trust Company                                      West Penn Power                                April 01, 2022        March 31, 2025
South End Investors, LLC                                    Potomac Edison                                 May 01, 2021          April 30, 2024
South Williamsport Borough                                  PPL Electric Utilities                         November 01, 2019     October 31, 2023
Southwest Capitol Assoc., LLC                               Potomac Electric Power Company ‐ DC            February 01, 2020     January 31, 2025
Specialty Lubricants Corp                                   First Energy Ohio Edison                       July 01, 2021         December 31, 2024
Specialty Ring Products, Inc.                               PECO Energy Company                            January 01, 2019      December 31, 2022
Spectrum Control, Inc.                                      West Penn Power                                July 01, 2021         June 30, 2024
Spooky Nook Sports, Inc.                                    PPL Electric Utilities                         December 01, 2019     November 30, 2024
Sport Fit/Bowie Racquet & Fitness Club Inc                  Baltimore Gas & Electric                       December 01, 2021     November 30, 2024
St Josephs Preparatory School                               PECO Energy Company                            July 01, 2020         June 30, 2023
St Joseph's Villa                                           PECO Energy Company                            December 01, 2019     November 30, 2024
St. John Properties, Inc.                                   Baltimore Gas & Electric                       December 01, 2020     November 30, 2022
Stadium Casino RE, LLC                                      PECO Energy Company                            September 01, 2020    August 31, 2022
Standard Horse Nail Corp                                    Duquesne                                       January 01, 2020      December 31, 2022
Stanpac NJ LLC                                              Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
State of Delaware                                           PECO Energy Company                            July 01, 2019         June 30, 2023
State of Delaware                                           Delmarva Power ‐ DE                            July 01, 2019         June 30, 2023
Staybridge Suites                                           PPL Electric Utilities                         April 01, 2020        March 31, 2024
Stayman Apartments                                          PPL Electric Utilities                         January 01, 2019      December 31, 2022



                                                                                                                                           Page 14 of 17
              Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 19 of 29


                                                                      Schedule 1
                                                              Retail Purchase Agreement
                   Retail Customer Name                                      Public Utility                 Term Start Date       Term End Date
Steel Equipment Specialists LLC                          First Energy Ohio Edison                       January 01, 2021      November 30, 2022
Sterling Land Company                                    Duquesne                                       May 01, 2022          December 31, 2023
Sterling Place Associates, LLC                           PPL Electric Utilities                         December 01, 2020     November 30, 2025
Stoneridge Retirement Living                             First Energy Metropolitan Edison Company       May 01, 2022          October 31, 2025
Stoneridge Retirement Living                             PPL Electric Utilities                         May 01, 2022          October 31, 2025
Stoneridge Retirement Living                             PPL Electric Utilities                         July 01, 2022         October 31, 2025
Strong Industries, Inc.                                  PPL Electric Utilities                         February 01, 2019     November 30, 2022
Sugar Creek Rest, Inc.                                   First Energy ‐ Pennsylvania Electric Company   September 01, 2019    January 31, 2023
Sun Motor Cars, Inc                                      PPL Electric Utilities                         January 01, 2021      December 31, 2022
Sunrise Senior Living Management, Inc                    Baltimore Gas & Electric                       January 01, 2021      December 31, 2023
Sunrise Senior Living Management, Inc                    Potomac Electric Power Company ‐ MD            January 01, 2021      December 31, 2023
Susque View Home                                         PPL Electric Utilities                         December 01, 2021     November 30, 2025
SVBF Inc                                                 PPL Electric Utilities                         October 01, 2020      September 30, 2024
Sykesville MD Al Opco LLC                                Baltimore Gas & Electric                       December 01, 2020     November 30, 2024
T S K Partners, Inc.                                     First Energy ‐ Pennsylvania Electric Company   September 01, 2021    November 30, 2024
Tanner Industries, Inc.                                  Baltimore Gas & Electric                       May 01, 2020          April 30, 2023
Taste It Presents Inc.                                   Public Service Electric and Gas Co.            September 01, 2021    August 31, 2024
TE Connectivity Corporation                              PECO Energy Company                            January 01, 2021      December 31, 2023
TE Connectivity Corporation                              First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
TE Connectivity Corporation                              West Penn Power                                January 01, 2021      December 31, 2023
TE Connectivity Corporation (PPL)(CZ Add‐On)             PPL Electric Utilities                         January 01, 2021      December 31, 2023
TE Connectivity Corporation (PPL‐2) (CZ add‐on)          PPL Electric Utilities                         January 01, 2021      December 31, 2023
Tech Cast Holdings LLC                                   First Energy Metropolitan Edison Company       December 01, 2022     December 31, 2024
Tech Packaging, Inc.                                     PPL Electric Utilities                         June 01, 2021         May 31, 2025
TecPort Partners, L.P.                                   PPL Electric Utilities                         December 01, 2020     November 30, 2023
Teledyne Energy Systems, Inc.                            Baltimore Gas & Electric                       June 01, 2019         May 31, 2022
Terrapin Investment Fund I, LLC                          PPL Electric Utilities                         February 01, 2019     November 30, 2023
The Azek Company                                         First Energy Ohio Edison                       March 01, 2022        December 31, 2022
The Bagel Place, Inc                                     First Energy Toledo Edison                     November 01, 2020     October 31, 2022
The Bond Distributing Co                                 Baltimore Gas & Electric                       March 01, 2021        November 30, 2024
The Bond Distributing Co                                 Baltimore Gas & Electric                       May 01, 2021          November 30, 2024
The Calvary Church                                       PPL Electric Utilities                         May 01, 2020          April 30, 2022
The Chefs? Warehouse Mid‐Atlantic, LLC                   Baltimore Gas & Electric                       May 01, 2021          April 30, 2022
The Delaware State Fair Inc                              Delmarva Power ‐ DE                            December 01, 2021     November 30, 2024
The Ecumenical Community                                 PPL Electric Utilities                         January 01, 2021      December 31, 2022
The Geisinger Clinic                                     UGI Utilities, Inc.                            September 01, 2020    May 31, 2022
The Geisinger Clinic                                     UGI Utilities, Inc.                            November 01, 2020     May 31, 2022
The Giorgi Companies, Inc.                               First Energy Metropolitan Edison Company       February 01, 2020     November 30, 2024
The HC Operating Company Inc.                            First Energy Cleveland Electric                December 01, 2019     November 30, 2022
The Heights School                                       Potomac Electric Power Company ‐ MD            July 01, 2020         June 30, 2024
The Home City Ice Company                                West Penn Power                                August 01, 2019       July 31, 2022
The J.M. Smucker Company                                 First Energy ‐ Pennsylvania Electric Company   August 01, 2021       July 31, 2023
The J.M. Smucker Company                                 West Penn Power                                November 01, 2021     October 31, 2023
The Jewel Tiny Box Inc                                   Potomac Electric Power Company ‐ DC            November 01, 2021     October 31, 2024
The Lancaster Country Club                               PPL Electric Utilities                         June 01, 2019         May 31, 2022
The Lancaster Country Club                               PPL Electric Utilities                         June 01, 2022         December 31, 2025
The Leisure World of Maryland Corporation (Common Area
Accts)                                                   Potomac Electric Power Company ‐ MD            January 01, 2022      December 31, 2024
The Leisure World of Maryland Corporation (Main Acct)    Potomac Electric Power Company ‐ MD            January 01, 2022      December 31, 2024
The Mennonite Home                                       PPL Electric Utilities                         February 01, 2022     January 31, 2025
The National Civil War Museum                            PPL Electric Utilities                         December 01, 2020     November 30, 2023
The Newstead DBA The Newstead Condominium
Association Inc                                          Public Service Electric and Gas Co.            September 01, 2020    August 31, 2022
The Sarah A Reed Children's Center                       First Energy ‐ Pennsylvania Electric Company   April 01, 2021        December 31, 2025
The Sherwin‐Williams Co.                                 First Energy Metropolitan Edison Company       December 01, 2017     November 30, 2022
The Sherwin‐Williams Company                             Potomac Edison                                 January 01, 2022      December 31, 2022
The Sherwin‐Williams Company                             Potomac Electric Power Company ‐ MD            January 01, 2022      December 31, 2022
The Sherwin‐Williams Company                             Delmarva Power ‐ MD                            January 01, 2022      December 31, 2022
The Sherwin‐Williams Company                             Baltimore Gas & Electric                       January 01, 2022      December 31, 2022
The Techs Industries, Inc.                               Duquesne                                       January 01, 2020      December 31, 2022
The Village At Morrisons Cove                            First Energy ‐ Pennsylvania Electric Company   April 01, 2022        December 31, 2025
The Village At Morrisons Cove                            First Energy ‐ Pennsylvania Electric Company   July 01, 2022         December 31, 2025
The Washington East Washington Joint Authority           West Penn Power                                February 01, 2021     December 31, 2023
The Waterfall Catering Corporation                       Delmarva Power ‐ DE                            November 01, 2019     October 31, 2022



                                                                                                                                        Page 15 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 20 of 29


                                                                        Schedule 1
                                                                Retail Purchase Agreement
                   Retail Customer Name                                        Public Utility                 Term Start Date       Term End Date
The White Bldg Condo Association                           PECO Energy Company                            June 01, 2020         May 31, 2022
The Yeshiva of North Jersey Inc                            Public Service Electric and Gas Co.            July 01, 2020         June 30, 2023
Thermal Solutions Products LLC                             PPL Electric Utilities                         May 01, 2020          April 30, 2022
Thermal Solutions Products LLC                             PPL Electric Utilities                         May 01, 2022          April 30, 2023
Three City Center Op LP                                    PPL Electric Utilities                         July 01, 2019         June 30, 2022
Titanium Finishing Co.                                     PPL Electric Utilities                         January 01, 2021      December 31, 2023
Tomatki, Inc                                               Ohio Power                                     June 01, 2021         September 30, 2023
Tomtreyco Hartville, Inc.                                  Duquesne                                       September 01, 2021    June 30, 2023
Top‐Star, Inc.                                             PPL Electric Utilities                         December 01, 2021     November 30, 2023
Top‐Star, Inc.                                             First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2023
Top‐Star, Inc.                                             PECO Energy Company                            December 01, 2021     November 30, 2023
Town of Chesapeake Beach                                   Baltimore Gas & Electric                       May 01, 2019          April 30, 2023
Tredegar Surface Protection, LLC                           PPL Electric Utilities                         January 01, 2022      December 31, 2025
Tropical Cheese Industries Inc                             Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Turner Automotive Corporation                              PPL Electric Utilities                         August 01, 2019       July 31, 2023
Tuscarora Hardwoods, Inc.                                  PPL Electric Utilities                         August 01, 2019       March 31, 2024
U S Plastic Coatings Corp                                  PPL Electric Utilities                         February 01, 2021     January 31, 2025
U.S. Boiler Company, Inc.                                  PPL Electric Utilities                         May 01, 2020          April 30, 2022
U.S. Boiler Company, Inc.                                  PPL Electric Utilities                         May 01, 2022          April 30, 2023
Unimac KPS LLC                                             PPL Electric Utilities                         August 01, 2019       November 30, 2022
Union Township Adult Community Development
Corporation                                                Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
United Envelope, LLC                                       PPL Electric Utilities                         January 01, 2021      December 31, 2023
United Plate Glass Company, Inc.                           Pennsylvania Power & Light                     June 01, 2021         May 31, 2025
United States Gypsum Company                               Baltimore Gas & Electric                       December 01, 2021     November 30, 2024
United Surgical Partners International, Inc.               Jersey Central Power & Light                   April 01, 2020        March 31, 2024
United Surgical Partners International, Inc.               Public Service Electric and Gas Co.            April 01, 2020        March 31, 2024
United Surgical Partners International, Inc.               Atlantic City Electric Company                 April 01, 2020        March 31, 2024
Universal Projects, Inc.                                   First Energy Metropolitan Edison Company       February 01, 2021     January 31, 2024
Universal Protective Packaging, Inc.                       PPL Electric Utilities                         December 01, 2019     November 30, 2022
University of Pittsburgh ‐ Of the Commonwealth System of
Higher Education                                           Duquesne                                       June 01, 2020         May 31, 2024
Unizo Realestate DC Six LLC                                Potomac Electric Power Company ‐ DC            September 01, 2020    August 31, 2023
Upper Dauphin Area School District                         PPL Electric Utilities                         July 01, 2020         June 30, 2023
Urban Outfitters, Inc.                                     Duquesne                                       January 01, 2021      December 31, 2022
Urban Outfitters, Inc.                                     PECO Energy Company                            January 01, 2021      December 31, 2022
Urban Outfitters, Inc.                                     West Penn Power                                January 01, 2021      December 31, 2022
Urban Outfitters, Inc.                                     PPL Electric Utilities                         January 01, 2021      December 31, 2022
Utz Quality Foods, LLC                                     First Energy Metropolitan Edison Company       December 01, 2021     November 30, 2022
Utz Quality Foods, LLC                                     PPL Electric Utilities                         December 01, 2021     November 30, 2022
V & S Amboy Galvanizing LLC                                Public Service Electric and Gas Co.            December 01, 2020     November 30, 2022
Valley Precision Tool & Technology, Inc.                   PPL Electric Utilities                         May 01, 2022          April 30, 2024
Valley Proteins, Inc.                                      PPL Electric Utilities                         December 01, 2019     November 30, 2022
Vantage Health System, Inc.                                Public Service Electric and Gas Co.            October 01, 2020      August 31, 2023
Vantage Healthcare Network Inc.                            First Energy ‐ Pennsylvania Electric Company   March 01, 2021        May 31, 2024
Velocity Condos                                            Potomac Electric Power Company ‐ DC            June 01, 2021         December 31, 2024
Verisign, Inc.                                             Delmarva Power ‐ DE                            May 01, 2020          April 30, 2023
Victory Brewing Company                                    PPL Electric Utilities                         August 01, 2020       July 31, 2023
Vnet Holdings, LLC                                         First Energy ‐ Pennsylvania Electric Company   January 01, 2021      January 31, 2023
Vnet Holdings, LLC                                         First Energy ‐ Pennsylvania Electric Company   February 01, 2021     January 31, 2023
Volunteers of America Delaware Valley, Inc.                PECO Energy Company                            December 01, 2020     November 30, 2023
Volunteers of America Delaware Valley, Inc.                Atlantic City Electric Company                 December 01, 2020     November 30, 2023
Volunteers of America Delaware Valley, Inc.                Public Service Electric and Gas Co.            December 01, 2020     November 30, 2023
Walker Mews Preservation, L.P.                             Baltimore Gas & Electric                       January 01, 2021      December 31, 2023
Walnut Street Commons Inc                                  PPL Electric Utilities                         May 01, 2020          April 30, 2023
Washington Health System                                   West Penn Power                                August 01, 2019       June 30, 2024
Weaver Industries Inc                                      PPL Electric Utilities                         February 01, 2022     January 31, 2025
Weaver's of Wellsville                                     First Energy Metropolitan Edison Company       December 01, 2020     November 30, 2023
Webb Communications, Inc.                                  PPL Electric Utilities                         June 01, 2018         May 31, 2022
Webb Communications, Inc.                                  UGI Utilities, Inc.                            January 01, 2020      December 31, 2022
Wegmans Food Markets, Inc.                                 First Energy ‐ Pennsylvania Electric Company   February 01, 2021     January 31, 2023
Wel Companies, Inc.                                        PPL Electric Utilities                         May 01, 2021          September 30, 2025
Welcome California Market, Inc.                            Public Service Electric and Gas Co.            August 01, 2020       July 31, 2022
Welcome California Market, Inc.                            Public Service Electric and Gas Co.            November 01, 2020     October 31, 2022



                                                                                                                                          Page 16 of 17
               Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 21 of 29


                                                                         Schedule 1
                                                                 Retail Purchase Agreement
                  Retail Customer Name                                          Public Utility                 Term Start Date      Term End Date
Welcome California Market, Inc.                             Potomac Electric Power Company ‐ MD            December 01, 2020     November 30, 2022
Welles Street Associates, L.P.                              PPL Electric Utilities                         January 01, 2020      December 31, 2022
West Hazleton Borough                                       PPL Electric Utilities                         January 01, 2022      December 31, 2025
West Hills Area Water Pollution Control Authority           West Penn Power                                October 01, 2021      September 30, 2024
West Middlesex Area School District Education Foundation,
Inc.                                                        Pennsylvania Power & Light                     June 01, 2021         November 30, 2024
West Shore Country Club                                     PPL Electric Utilities                         December 01, 2020     November 30, 2022
West Shore Evangelical Free Church                          PPL Electric Utilities                         December 01, 2019     November 30, 2022
Westminster Place at Long Community                         PPL Electric Utilities                         December 01, 2020     December 31, 2024
Westminster Place at Stewardstown                           First Energy Metropolitan Edison Company       January 01, 2022      December 31, 2024
Westover Management Company, L.P.                           Delmarva Power ‐ DE                            May 01, 2020          April 30, 2024
Westover Management Company, L.P.                           PPL Electric Utilities                         February 01, 2021     January 31, 2025
Westover Management Company, L.P. (PECO) (GS <100)
(Renewal Plus New Accounts)                                 PECO Energy Company                            January 01, 2020      December 31, 2022
Westover Management Company, L.P. (PECO) (Gulph Mills)
(XXXXXX6021) (Renewal)                                      PECO Energy Company                            January 01, 2020      December 31, 2022
Wexford Volunteer Fire Department Inc                       Pennsylvania Power & Light                     November 01, 2020     November 30, 2023
Wheatland Tube Company, Div of Zekelman Industries          Ohio Power                                     January 01, 2021      November 30, 2024
Wheatland Tube Company, Div of Zekelman Industries          Pennsylvania Power & Light                     June 01, 2021         December 31, 2024
Whi Global, LLC                                             Public Service Electric and Gas Co.            January 01, 2021      December 31, 2023
White Haven Market, Inc.                                    UGI Utilities, Inc.                            December 01, 2021     November 30, 2023
White Haven RE LLC                                          PPL Electric Utilities                         December 01, 2020     November 30, 2022
Wilkes University                                           PPL Electric Utilities                         June 01, 2018         May 31, 2022
Wilkes‐Barre Behavioral Hospital Company, LLC               PPL Electric Utilities                         January 01, 2021      December 31, 2022
Wilkes‐Barre Hospital Company LLC                           UGI Utilities, Inc.                            April 01, 2019        December 31, 2022
Wilkes‐Barre Hospital Company LLC                           PPL Electric Utilities                         April 01, 2019        December 31, 2022
Wilkes‐Barre Hospital Company LLC                           PPL Electric Utilities                         January 01, 2020      December 31, 2022
Williamsport Country Club                                   PPL Electric Utilities                         May 01, 2018          April 30, 2022
Williamsport Country Club                                   PPL Electric Utilities                         July 01, 2018         April 30, 2022
Williamsport Municipal Water Authority                      PPL Electric Utilities                         December 01, 2017     November 30, 2022
Willow Valley Communities                                   PPL Electric Utilities                         December 01, 2019     November 30, 2023
Wilson Creek Energy, LLC                                    First Energy ‐ Pennsylvania Electric Company   June 01, 2020         April 30, 2022
Windber Hospital Inc., DBA Chan Soon‐Shiong Medical
Center at Windber                                           First Energy ‐ Pennsylvania Electric Company   April 01, 2019        March 31, 2024
Windber Research Institute, DBA Chan Soon‐Shiong of
Molecular Medicine                                          First Energy ‐ Pennsylvania Electric Company   July 01, 2019         June 30, 2024
Winston Towers 200 Association, Inc.                        Public Service Electric and Gas Co.            November 01, 2020     August 31, 2024
Woodmont Lower Mac LLC                                      PPL Electric Utilities                         April 01, 2020        March 31, 2023
Woodmont Properties at Lehigh Valley LP                     PPL Electric Utilities                         April 01, 2020        March 31, 2023
Woodmont Um LP                                              PPL Electric Utilities                         April 01, 2020        March 31, 2023
Woodward Properties, Inc.                                   PECO Energy Company                            January 01, 2020      December 31, 2023
World Electronics Sales and Service, Inc.                   First Energy Metropolitan Edison Company       May 01, 2020          April 30, 2022
WRC Senior Services                                         First Energy ‐ Pennsylvania Electric Company   January 01, 2022      December 31, 2024
Wyoming Seminary                                            UGI Utilities, Inc.                            December 01, 2020     November 30, 2022
Wyoming Valley Sanitary Authority                           UGI Utilities, Inc.                            January 01, 2022      December 31, 2024
Yellow Cab Holdings PA, LLC                                 PECO Energy Company                            July 01, 2020         June 30, 2024
Yellow Cab Holdings PA, LLC                                 PPL Electric Utilities                         November 01, 2020     October 31, 2023
York College of Pennsylvania Inc                            First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
Young Men's Christian Association of York And York
County, Pennsylvania                                        First Energy Metropolitan Edison Company       January 01, 2021      December 31, 2023
Youngstown YMCA                                             First Energy ‐ Pennsylvania Electric Company   December 01, 2021     November 30, 2024
Zatsick's Golden Dawn                                       Pennsylvania Power & Light                     January 01, 2020      December 31, 2022
Zell Two Inc                                                Duquesne                                       December 01, 2022     November 30, 2023
Zook Molasses Co                                            PPL Electric Utilities                         May 01, 2021          April 30, 2024
Zook Molasses Co                                            PPL Electric Utilities                         May 01, 2024          November 30, 2025




                                                                                                                                           Page 17 of 17
        Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 22 of 29




                                     Schedule 2

                              Retail Broker Agreements




WEIL:\98657658\2\76974.0003
            Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 23 of 29




                                                Schedule 2
                                         Retail Broker Agreement
                      Broker Name                                        Agreement
A1 Restoration Inc.                                 Retail Broker Agreement Dated November 01, 2021
Able Power Management LLC                           Retail Broker Agreement Dated May 01, 2020
Accenture                                           Retail Broker Agreement Dated May 07, 2018
Acclaim Energy Advisors                             Retail Broker Agreement Dated November 11, 2011
Achieve Energy Solutions, LLC                       Retail Broker Agreement Dated September 20, 2012
ADL High Voltage                                    Retail Broker Agreement Dated September 09, 2014
Advantage Energy Partners LLC                       Retail Broker Agreement Dated December 16, 2010
Advantage IQ, Inc.                                  Retail Broker Agreement Dated July 25, 2011
Advisors Energy Group, LLC                          Retail Broker Agreement Dated March 22, 2018
Aegean Energy Advisors, LLC                         Retail Broker Agreement Dated November 26, 2018
Affiliated Power Purchasers (APPI)                  Retail Broker Agreement Dated September 04, 2009
Affinity Energy Management, LLC                     Retail Broker Agreement Dated December 16, 2010
AICUP                                               Retail Broker Agreement Dated March 30, 2009
Albireo Energy, LLC                                 Retail Broker Agreement Dated April 29, 2014
Alternative Energy Source (HB Hayes & Associates)   Retail Broker Agreement Dated September 28, 2018
Alternative Utility Services, Inc.                  Retail Broker Agreement Dated February 06, 2013
Amerex Brokers LLC                                  Retail Broker Agreement Dated September 30, 2009
American PowerNet                                   Retail Broker Agreement Dated November 22, 2016
Apollo Edison LLC                                   Retail Broker Agreement Dated March 14, 2018
Applied Energy Partners LLC                         Retail Broker Agreement Dated June 06, 2016
Asset Energy LLC                                    Retail Broker Agreement Dated May 06, 2020
Atlas Commodities II Retail Energy, LLC             Retail Broker Agreement Dated April 13, 2020
Aui Associates, Inc.                                Retail Broker Agreement Dated September 25, 2015
Aurora Energy Advisors, LLC                         Retail Broker Agreement Dated March 27, 2018
Avalon Energy Services, LLC                         Retail Broker Agreement Dated January 04, 2011
Avion Energy Group, LLC                             Retail Broker Agreement Dated July 28, 2020
Axiom Power, LLC                                    Retail Broker Agreement Dated June 03, 2020
Axiom Retail Energy, LLC                            Retail Broker Agreement Dated June 24, 2020
Azira Group LLC                                     Retail Broker Agreement Dated August 19, 2020
Batchelor Energy, LLC                               Retail Broker Agreement Dated April 05, 2013
Berkshire Energy Partners                           Retail Broker Agreement Dated June 05, 2014
Best Practice Energy, LLC                           Retail Broker Agreement Dated September 15, 2021
Bollinger Energy Corporation                        Retail Broker Agreement Dated November 15, 2012
Brasovan Group, LLC                                 Retail Broker Agreement Dated August 19, 2020
Brice Associates                                    Retail Broker Agreement Dated December 15, 2010
Bridgeway Direct, LLC                               Retail Broker Agreement Dated June 30, 2020
Broker Online Exchange, LLC                         Retail Broker Agreement Dated July 22, 2020
BTU Direct Marketing, LLC                           Retail Broker Agreement Dated May 16, 2014
Burton Energy Group                                 Retail Broker Agreement Dated January 14, 2019
C Group Energy Services, LLC                        Retail Broker Agreement Dated November 20, 2012
Casa, Inc. (aka EnergyLink)                         Retail Broker Agreement Dated July 14, 2014



                                                                                               Page 1 of 7
            Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 24 of 29




                                                 Schedule 2
                                          Retail Broker Agreement
                      Broker Name                                          Agreement
Chemistry Council of New Jersey                       Retail Broker Agreement Dated August 25, 2014
Chesapeake Energy Services Inc.                       Retail Broker Agreement Dated August 08, 2017
Choice Energy Services, LP                            Retail Broker Agreement Dated January 04, 2016
Chrislynn Energy Services, Inc.                       Retail Broker Agreement Dated August 01, 2012
Clarity Energy Consulting, LLC                        Retail Broker Agreement Dated June 15, 2018
Clear Energy Solutions                                Retail Broker Agreement Dated April 26, 2012
ClearChoice Energy                                    Retail Broker Agreement Dated January 28, 2010
Co-eXprise                                            Retail Broker Agreement Dated October 02, 2009
Commercial Utility Consultants                        Retail Broker Agreement Dated June 23, 2009
Community Energy Advisors LLC                         Retail Broker Agreement Dated October 19, 2018
Community Purchasing Alliance Cooperative             Retail Broker Agreement Dated April 01, 2020
Concord Energy Services                               Retail Broker Agreement Dated August 27, 2012
Connect Energy Resources, LLC                         Retail Broker Agreement Dated September 15, 2017
Consumer Energy Solutions, Inc.                       Retail Broker Agreement Dated November 13, 2018
Convenient Ventures LLC (fmly Shipley Energy)         Retail Broker Agreement Dated January 05, 2010
CQI Associates                                        Retail Broker Agreement Dated April 21, 2015
CreativEnergy Options                                 Retail Broker Agreement Dated February 11, 2021
CSD Energy Advisors, LLC                              Retail Broker Agreement Dated July 17, 2018
Delaware Valley Energy Solutions                      Retail Broker Agreement Dated August 22, 2012
Destination Energy, LLC dba Energy Related Services   Retail Broker Agreement Dated December 02, 2015
Diversegy, LLC                                        Retail Broker Agreement Dated October 02, 2019
Dovetail Energy Services LLC                          Retail Broker Agreement Dated June 30, 2020
e.comm Technologies Inc.                              Retail Broker Agreement Dated March 14, 2013
Ecova - Fmly E Source (EnergyWindow)                  Retail Broker Agreement Dated April 30, 2012
Edge Insights Inc. fmrly Utilitech, Inc.              Retail Broker Agreement Dated January 05, 2010
Efficient Energy Solutions                            Retail Broker Agreement Dated September 25, 2018
Electric Advisors                                     Retail Broker Agreement Dated January 31, 2013
Enel X North America, Inc. fka EnerNOC                Retail Broker Agreement Dated February 06, 2013
ENERActive Solutions                                  Retail Broker Agreement Dated April 25, 2013
EnerConnex, LLC                                       Retail Broker Agreement Dated April 13, 2020
Energy Alliances, Inc                                 Retail Broker Agreement Dated July 01, 2019
Energy Choice Solutions                               Retail Broker Agreement Dated August 17, 2009
Energy Consultants LLC                                Retail Broker Agreement Dated April 10, 2019
Energy CX LLC                                         Retail Broker Agreement Dated August 25, 2020
Energy Edge Consulting, LLC                           Retail Broker Agreement Dated June 09, 2020
Energy Enablement Inc                                 Retail Broker Agreement Dated August 31, 2011
Energy Initiatives, Inc.                              Retail Broker Agreement Dated January 30, 2013
Energy Market Exchange (EMEX)                         Retail Broker Agreement Dated January 21, 2011
Energy Paradigm LLC                                   Retail Broker Agreement Dated August 21, 2018
Energy Procurement Partners Inc                       Retail Broker Agreement Dated October 15, 2011
Energy Professionals                                  Retail Broker Agreement Dated August 04, 2014



                                                                                                 Page 2 of 7
           Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 25 of 29




                                                Schedule 2
                                         Retail Broker Agreement
                     Broker Name                                        Agreement
Energy Resources Alliance LLC                      Retail Broker Agreement Dated May 05, 2020
Energy Savers Inc                                  Retail Broker Agreement Dated August 30, 2010
Energy Savings                                     Retail Broker Agreement Dated April 29, 2011
Energy Services Management, LLC                    Retail Broker Agreement Dated February 08, 2013
Energy Trust, LLC                                  Retail Broker Agreement Dated August 01, 2014
EnergyAEX                                          Retail Broker Agreement Dated July 30, 2012
Energyserv Solutions, Ltd.                         Retail Broker Agreement Dated June 03, 2020
ENGIE Insight Services Inc.                        Retail Broker Agreement Dated November 12, 2019
Enhanced Energy Services of America, LLC           Retail Broker Agreement Dated June 11, 2020
Everon Green                                       Retail Broker Agreement Dated July 27, 2020
Evolution Energy Partners                          Retail Broker Agreement Dated October 15, 2015
F&P Holdings, LP dba T&F Exploration               Retail Broker Agreement Dated July 26, 2013
Fellon-McCord                                      Retail Broker Agreement Dated December 25, 2009
Foster LLC                                         Retail Broker Agreement Dated December 25, 2009
Frontline Power Solutions                          Retail Broker Agreement Dated March 01, 2016
Gabel Associates                                   Retail Broker Agreement Dated December 29, 2011
Global Energy Solutions Corp.                      Retail Broker Agreement Dated May 29, 2010
Goldstar Energy Group, Inc.                        Retail Broker Agreement Dated January 25, 2011
Good Energy                                        Retail Broker Agreement Dated September 30, 2016
Greencrown Energy LLC                              Retail Broker Agreement Dated November 07, 2018
Grid Energy                                        Retail Broker Agreement Dated March 01, 2016
Group-S LLC                                        Retail Broker Agreement Dated November 11, 2020
Gulf Stream Energy Consultants LLC                 Retail Broker Agreement Dated August 11, 2017
H.P. Technologies, Inc.                            Retail Broker Agreement Dated September 10, 2018
Health Resource Network, Inc. - HRN Energy
Management                                         Retail Broker Agreement Dated January 20, 2012
HealthTrust Purchasing Group                       Retail Broker Agreement Dated October 05, 2012
Hospital Energy, LLC                               Retail Broker Agreement Dated February 22, 2019
IC Thomasson Associates, Inc.                      Retail Broker Agreement Dated March 11, 2013
Incite Energy                                      Retail Broker Agreement Dated August 28, 2012
Independent Energy Consultants Inc                 Retail Broker Agreement Dated May 22, 2020
Infinity Power Partners                            Retail Broker Agreement Dated July 29, 2015
Insight Sourcing Group                             Retail Broker Agreement Dated March 21, 2018
Integrity Energy, LTD                              Retail Broker Agreement Dated December 19, 2018
JMI Consultants, LLC                               Retail Broker Agreement Dated December 03, 2019
John Orr                                           Retail Broker Agreement Dated May 17, 2018
Key Energy Consulting, LLC                         Retail Broker Agreement Dated February 14, 2018
KeyTex Energy Solutions, LLC                       Retail Broker Agreement Dated November 25, 2009
Kinect Energy Group                                Retail Broker Agreement Dated October 21, 2009
KOBIONA LLC                                        Retail Broker Agreement Dated July 23, 2019
L5E LLC                                            Retail Broker Agreement Dated June 13, 2019



                                                                                              Page 3 of 7
          Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 26 of 29




                                            Schedule 2
                                     Retail Broker Agreement
                    Broker Name                                     Agreement
Legacy Energy Group                            Retail Broker Agreement Dated January 13, 2012
Legend Energy Advisors                         Retail Broker Agreement Dated July 13, 2015
Lights Out Energy LLC                          Retail Broker Agreement Dated June 09, 2020
Lightstar Energy Group                         Retail Broker Agreement Dated October 11, 2012
Lincoln Energy Group LLC                       Retail Broker Agreement Dated August 04, 2009
Live Energy                                    Retail Broker Agreement Dated July 06, 2011
Long Distance Consultants - LD Energy          Retail Broker Agreement Dated May 09, 2011
Louella Enterprises LLC                        Retail Broker Agreement Dated June 08, 2018
Lythix, LLC                                    Retail Broker Agreement Dated June 12, 2020
M&R Energy Resources Corp.                     Retail Broker Agreement Dated November 16, 2018
Mablock Consulting LLC                         Retail Broker Agreement Dated July 16, 2018
Manhattan Energy LLC                           Retail Broker Agreement Dated July 16, 2010
Maryland Energy Advisors                       Retail Broker Agreement Dated November 05, 2013
Metromedia Power                               Retail Broker Agreement Dated November 23, 2009
Mid Atlantic Energy Services                   Retail Broker Agreement Dated July 17, 2013
Mitchell Energy Management Services Inc.       Retail Broker Agreement Dated May 07, 2010
Mondre Energy, Inc.                            Retail Broker Agreement Dated October 22, 2010
MSI Utilities, Inc.                            Retail Broker Agreement Dated October 19, 2018
Muirfield Energy                               Retail Broker Agreement Dated February 15, 2011
Nania Energy Inc                               Retail Broker Agreement Dated January 29, 2021
National Energy Management                     Retail Broker Agreement Dated June 24, 2011
National Energy Network                        Retail Broker Agreement Dated February 14, 2012
National1 Energy LLC                           Retail Broker Agreement Dated April 27, 2013
Nationwide New Energy Management Group, LLC    Retail Broker Agreement Dated May 07, 2020
Navigate Power LLC                             Retail Broker Agreement Dated November 09, 2018
NE Energy, LLC                                 Retail Broker Agreement Dated March 18, 2021
New America Power, LLC                         Retail Broker Agreement Dated April 25, 2019
New Energy Concepts, L.L.C.                    Retail Broker Agreement Dated August 21, 2014
Nextility, Inc.                                Retail Broker Agreement Dated May 19, 2015
Noresco, LLC                                   Retail Broker Agreement Dated April 01, 2015
North Shore Energy Consulting                  Retail Broker Agreement Dated April 09, 2012
NorthEast Energy Advisors, LLC                 Retail Broker Agreement Dated June 11, 2009
Northeast Energy Partners, LLC                 Retail Broker Agreement Dated March 25, 2011
NUS Consulting Group                           Retail Broker Agreement Dated October 05, 2009
OE Group                                       Retail Broker Agreement Dated January 23, 2013
OnDemand Energy Solutions                      Retail Broker Agreement Dated August 24, 2012
Onyx Power & Gas Consulting LLC                Retail Broker Agreement Dated September 11, 2018
OP Power Solutions LLC                         Retail Broker Agreement Dated May 08, 2020
Open Market Energy LLC                         Retail Broker Agreement Dated June 26, 2012
PAL Energy Smart LLC                           Retail Broker Agreement Dated June 15, 2020
Park Place Power Consulting LLC                Retail Broker Agreement Dated June 15, 2018



                                                                                          Page 4 of 7
           Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 27 of 29




                                                Schedule 2
                                         Retail Broker Agreement
                     Broker Name                                        Agreement
Patch Power                                        Retail Broker Agreement Dated August 31, 2020
Patriot Energy Group                               Retail Broker Agreement Dated July 31, 2012
Penn State Facilities Engineering Institute        Retail Broker Agreement Dated June 01, 2017
PES Brokers Inc.                                   Retail Broker Agreement Dated May 29, 2013
Philadelphia Area Independent Schools Business
Officers Association                               Retail Broker Agreement Dated March 23, 2016
Power Brokers, LLC                                 Retail Broker Agreement Dated August 30, 2018
Power Management Company LLC                       Retail Broker Agreement Dated July 27, 2020
Powershift Energy Limited Liability Company        Retail Broker Agreement Dated June 11, 2020
Premier Energy Group                               Retail Broker Agreement Dated October 05, 2009
Premier Power Solutions, LLC                       Retail Broker Agreement Dated August 24, 2012
Premiere Marketing dba Transparent Energy          Retail Broker Agreement Dated January 11, 2018
Procurian, Inc.                                    Retail Broker Agreement Dated July 17, 2014
Profusion Energy Brokerage                         Retail Broker Agreement Dated August 04, 2020
Progressive Energy Consultants, LLC                Retail Broker Agreement Dated July 31, 2018
Prosource Power LLC                                Retail Broker Agreement Dated May 08, 2020
Provident Energy Consulting, LLC                   Retail Broker Agreement Dated September 02, 2009
Prudential Energy Services Corporation             Retail Broker Agreement Dated June 05, 2018
PWI Engineering                                    Retail Broker Agreement Dated April 18, 2017
Rapid Power Management, LLC                        Retail Broker Agreement Dated June 08, 2018
Reflective Energy Solutions                        Retail Broker Agreement Dated September 16, 2010
Regional Resources Energy Group, LLC               Retail Broker Agreement Dated February 02, 2016
Reliable Power Alternatives Corporation            Retail Broker Agreement Dated October 28, 2014
Resource Energy Solutions, LLC                     Retail Broker Agreement Dated June 04, 2018
Resource Energy Systems                            Retail Broker Agreement Dated June 04, 2018
Results Energy Consulting Inc                      Retail Broker Agreement Dated March 27, 2019
Retail Power Services Inc.                         Retail Broker Agreement Dated September 04, 2018
Rexcal Energy LLC                                  Retail Broker Agreement Dated June 10, 2020
Richards Energy Group, Inc.                        Retail Broker Agreement Dated April 17, 2018
Rosenthal Energy Advisors                          Retail Broker Agreement Dated January 25, 2013
Sable Power & Gas                                  Retail Broker Agreement Dated March 31, 2015
Satori Energy                                      Retail Broker Agreement Dated December 21, 2017
Schneider Electric USA, Inc.                       Retail Broker Agreement Dated May 13, 2010
School Power, Inc.                                 Retail Broker Agreement Dated December 05, 2011
Scioto Energy                                      Retail Broker Agreement Dated September 05, 2018
Secure Energy Solutions                            Retail Broker Agreement Dated June 10, 2010
Selected Power, Inc.                               Retail Broker Agreement Dated September 22, 2020
Sensible Energy Management                         Retail Broker Agreement Dated October 07, 2012
Sergio Cantu, LLC                                  Retail Broker Agreement Dated August 11, 2020
Singularity Inc. d/b/a National Utilisource        Retail Broker Agreement Dated June 23, 2020
Solution Energy, LLC                               Retail Broker Agreement Dated May 01, 2012



                                                                                               Page 5 of 7
           Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 28 of 29




                                              Schedule 2
                                       Retail Broker Agreement
                      Broker Name                                     Agreement
Source One, Inc. (DE)                            Retail Broker Agreement Dated March 26, 2020
Sprague Energy (fmrly Metromedia Energy)         Retail Broker Agreement Dated April 28, 2015
Stanwich Energy Advisors LLC                     Retail Broker Agreement Dated May 27, 2015
StoneX Financial Inc.                            Retail Broker Agreement Dated November 30, 2011
SunLight Energy Group, LLC                       Retail Broker Agreement Dated September 08, 2017
Susquehanna Energy Advisors, Inc.                Retail Broker Agreement Dated January 17, 2017
Taurus Advisory Group LLC                        Retail Broker Agreement Dated March 13, 2018
Tes Energy Services, LP                          Retail Broker Agreement Dated July 17, 2018
The Eric Ryan Corporation                        Retail Broker Agreement Dated March 26, 2020
The Galt Company                                 Retail Broker Agreement Dated January 19, 2011
The Malatan Group LLC                            Retail Broker Agreement Dated October 18, 2018
Thomas Engineering, Inc.                         Retail Broker Agreement Dated June 25, 2020
Titan Energy New England                         Retail Broker Agreement Dated March 31, 2017
Tobelmann Energy Brokers, Inc.                   Retail Broker Agreement Dated April 28, 2012
Tomorrow's Utilities, Inc.                       Retail Broker Agreement Dated November 17, 2011
Total Energy Resources, LLC                      Retail Broker Agreement Dated September 23, 2014
TPI Efficiency Consulting                        Retail Broker Agreement Dated March 05, 2015
Tradition Energy                                 Retail Broker Agreement Dated October 25, 2010
Trane Energy Choice, LLC                         Retail Broker Agreement Dated December 17, 2010
Transatlantic Energy Group LLC                   Retail Broker Agreement Dated June 30, 2020
TransparencE Energy Services, LLC                Retail Broker Agreement Dated July 09, 2020
Triple S Energy Management LLC                   Retail Broker Agreement Dated May 22, 2019
Tritium Energy Consulting, LLC                   Retail Broker Agreement Dated December 01, 2010
TruEnergyServices, LLC                           Retail Broker Agreement Dated June 11, 2019
Tybec Energy Management Specialists, Inc         Retail Broker Agreement Dated May 25, 2010
UGI Energy Services, Inc.                        Retail Broker Agreement Dated April 16, 2010
Unified Energy Services                          Retail Broker Agreement Dated March 02, 2010
United Commercial Energy Partners, LLC           Retail Broker Agreement Dated June 03, 2020
US Energy Solutions Inc.                         Retail Broker Agreement Dated July 08, 2020
Usource, LLC                                     Retail Broker Agreement Dated April 15, 2008
Utility Analyses, LLC                            Retail Broker Agreement Dated July 10, 2014
Utility Rates Analysts                           Retail Broker Agreement Dated July 06, 2012
Vervantis Inc.                                   Retail Broker Agreement Dated January 11, 2018
Watermark Power Solutions, Inc.                  Retail Broker Agreement Dated June 12, 2020
Winstar Solutions, LLC                           Retail Broker Agreement Dated May 25, 2018
World Energy                                     Retail Broker Agreement Dated April 11, 2008
Worthington Energy Consultants, LLC              Retail Broker Agreement Dated April 18, 2017
Xencom Green Energy, LLC                         Retail Broker Agreement Dated November 04, 2010
Yes Energy Inc.                                  Retail Broker Agreement Dated August 29, 2018
Your Choice Energy, LLC                          Retail Broker Agreement Dated June 22, 2009
Yum Capital, LLC                                 Retail Broker Agreement Dated June 30, 2020



                                                                                            Page 6 of 7
              Case 22-90054 Document 616 Filed in TXSB on 06/22/22 Page 29 of 29




                                           Schedule 2
                                    Retail Broker Agreement
                   Broker Name                                     Agreement
Zentility, Inc.                               Retail Broker Agreement Dated July 07, 2020




                                                                                            Page 7 of 7
